Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
                          Exhibit D-1 Page 1 of 67




                         EXHIBIT D-1
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                           Exhibit D-1 Page 2 of 67



                                                                        -1-

                                                                                         Tuesday, July 06, 2021

Claim 6725

Does not include claims 7490 or 7415, the amounts are not duplicated.

From: Félix Rivera Clemente

To: Prime Clerk LLC

                                                       [Stamp: Received - JUL 12, 2011, PRIME CLERK]

Subject: Claim of Félix Rivera Clemente against the Department of Transportation and Public
Works, Road Traffic Regulation Div. (Government of Puerto Rico). Due to involuntary transfer
for having written a memorandum to the Sign maker Angel Rafael Boria Figueroa. I, Félix
Rivera Clemente (Sign workshop Supervisor), being his supervisor on May 07, 2007, in the
Department of Transportation and Public Works.

Claim Filing:
It was filed in the Department with Labor at Calle San Justo in Old San Juan which is now
between Avenida Luis Muñoz Rivera and Ave. Juan Ponce De León in Hato Rey, 6th Floor.




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 3 of 67



                                                                        -2-

[TN: unclear:] At the Department of Transportation and Public Works (Road Traffic
Regulation Division at Avenida José de Diego / Calle Bori intersection) and not those that
belong to the drug sale spot previously at Calle 8838.

1) They build houses.
2) They harass you so that you resign from Road Traffic Regulation.


Missing document, for which they sent me from the Human Resources Office, 5th Floor, Torre
Sur, of the Department of Transportation and Public Works, State Government, to a
psychiatrist or psychologist for an assessment which would indicate whether I was capable
of being a supervisor of the Sign workshop.




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 4 of 67



                                                                        -3-

The Claim for Involuntary Transfer was filed with the Department of Labor at Calle San Justo
in Old San Juan due to involuntary transfer against the Department of Transportation and
Public Works (Road Traffic Regulation Div.).

They sent us to: ORHELA
Human Resources Office
of the Commonwealth P.O. BOX 8476
San Juan, Puerto Rico 00910-8476
Metro Office Park
Calle 1 Lote 18
Guaynabo, Puerto Rico
Tel. (787) 781-4300
Sarah Irizarry Cruz
Mediator

We returned without an agreement to the Dept. of Labor which sent us again for fast relief
to:
The Public Service Appeals Commission at the Avenida Ponce de León / Calle Hipódromo
Parada 20 intersection in Santurce, San Juan, Puerto Rico 00919-2394.
Until Present. Tel. 787-721-5739




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 5 of 67



                                                                        -4-
Claim 6725
The Ruling is at:
Commonwealth of Puerto Rico
Appeals Commission of the Public Service Human Resources Administration
Avenida Juan Ponce de León 268
Hato Rey Center Suite 600
P.O. Box 192394, San Juan, P.R. 00919-2394
Tel. 787-721-5739 Fax 787-725-1242
http://www.casarh.gobierno.pr

Case Number: 2007-05-1167
Involuntary Transfer

Félix Rivera Clemente
v.
Department of Transportation
and Public Works
State Government
Road Traffic Regulation Division
Tel. 787-751-2025
Ext. 33223 and 33222




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 6 of 67



TO                    :              Public Service Appeals Commission of the
                                     Commonwealth of Puerto Rico
                                     P.O. Box 41149
                                     San Juan, PR 00940-1149
                                     (787) 723-4242 - 723-4699
                                     http://www.casp.pr.gov


FROM                  :              Félix Rivera Clemente v. D.T.O.P.

SUBJECT               :              Case #2007-05-1167 - Transfers

DATE                  :              October 14, 2011


                                                     INFORMATIVE MOTION

      Requesting a hearing to request the closure and judgment with prejudice for the
above-captioned case, because the appellee did not comply with the order of the Honorable
Associate Commissioner Carmen T. Lugo Somolinos, requested in writing on July 14, 2011.

      I request the case's closure, the case's judgment and ruling and that D.T.O.P. is
ordered to pay me $60,000,000.00 as requested.




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 7 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS


May 08, 2007


Mr. Angel R. Boria Figueroa
Sign maker
                                                       [Signature]
Manuel Salcedo Ortega, PE
Acting Director
Road Traffic Regulation Office

[Signature]
Arthur Dones Negrón
Manager, Construction Division
Road Traffic Regulation Office

[Signature]
Félix Rivera Clemente
Sign Workshop Supervisor

INSUBORDINATION

Excessive cell phone use during work hours.

Occasionally disappearing from the workshop without permission.

Threatening
                                                       [Signature]




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                           Exhibit D-1 Page 8 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




                                              MEETING MINUTES
                                            DATE :                 July 18, 2007
                                            TIME  :                9:50 AM
                                            PLACE :                Office of Mr. Félix Rivera Clemente

PRESENT:

                      Eng. Manuel Salcedo Ortega - Acting Director
                      Mr. Benjamín Rivera Ramos - Administrative Manager
                      Mr. Félix Rivera Clemente - Sign Workshop Supervisor
                      Ms. Minerva Valentín Miranda - Director's Secretary


SUBJECTS:                        ACTION ACCORDING TO THE
                                 EMPLOYEE ASSISTANCE PROGRAM (PAE)
                                 * * * * * * * * * * * * * *

Eng. Manuel Salcedo began the meeting by stating that on July 17, 2007, he received
a call from Ms. Aída Rossy, PAE Social Worker, informing him that she was working
on the case of Mr. Félix Rivera Clemente v. Sign Workshop Workers. This individual
indicated that, given the circumstances issued by this office and the parties involved,
that the appropriate action is to transfer Mr. Félix Rivera Clemente from the workshop
in order to avoid counterproductive events, in the words of Ms. Rossy. This action
should be maintained until the case is heard in the appropriate forums. Are we clear?,
asked Eng. Salcedo.

Mr. Félix Rivera answered: “How should there be problems if they are in the Workshop
and I don't give them instructions. It is Carlos Román who gives them the instructions.
The procedure is not being followed as it should be. They all go to Carlos Román, they
don't come to me. It is not being done as it is written down.


  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                            Desc:
                           Exhibit D-1 Page 9 of 67



MEETING MINUTES                                                                                                  (2 of 2)
JULY 18, 2007

They give me things in writing, and certain things are written down while certain other
things are being done. I don't go to Edgardo's office. I don't have anything to do with
them. I don't have any interference with them.”

Eng. Salcedo replied to him: “She told me that, I just follow instructions.”

Mr. Félix Rivera indicated that Ms. Rossy is a [hw:] cousin and neighbor of Soria, or
that there is a family relationship. That they were doing everything in a crazy manner.
Eng. Salcedo and Mr. Benjamín Rivera indicated that they were unaware that they were
family. Eng. Salcedo agreed to inquire about this situation.

Then Eng. Salcedo indicated that the Workshop's tasks shall be maintained under the
same condition that Mr. Félix Rivera shall channel the tasks through Mr. Carlos
Román.

Eng. Salcedo proceeded to explain to Mr. Félix Rivera that: “July 25th's tasks did not
go through your hands, that was my responsibility. I was the one who did it.” And he
clarified to him again: “given the circumstances, everything must go through your
hands through Carlos Román.”

Mr. Félix Rivera indicated to Eng. Salcedo: “I stay in my office because I’m not giving
them instructions.”

Eng. Salcedo replied to him: “They are instructions from Human Resources, you
cannot violate the instructions.”

                                       The meeting was concluded at 10:10 AM



MSO/MVM/lar




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15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                       Desc:
                          Exhibit D-1 Page 10 of 67




Wednesday, August 01, 2007

Government Ethics Office
Ms. Wanda M. Sierra Nieves
Executive Officer I.


        I, Félix Rivera Clemente, Sign Workshop Supervisor of the Department of
Transportation and Public Works, Road Traffic Regulation Division, would like to file a
complaint to investigate the decision made by Aída Iris Rossy, Social Worker of the Office of
Industrial Relations (PAE), in relation to the situation that occurred on Monday, May 07, 2007,
at the Sign Workshop because the sign maker with whom the situation occurred is her cousin.
The maternal grandmothers of Sign maker Angel R. Boria and Ms. Aída Iris Rossy are sisters.
She should have recused herself from the case and made no decision, and certainly not that
to remove me from my Sign workshop office to please Boria because of the memo that I
wrote to him on Tuesday, May 07, 2007, of which I include a copy.




                                                                                                             Government Ethics
                                                                                                            Internal Audit Office
                                                                                                            Tel. (787) 722-2929
                                                                                                              Ext. 2531 or 2164
                                                                                            Delivered to the Government Ethics
                                                                                                                           Office

                                                                                                                 Wednesday, August 08

Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                           Desc:
                          Exhibit D-1 Page 11 of 67




ORHELA-CMC-6
May 2006                                                                                 [Emblem: ORHELA]

                        Commonwealth of Puerto Rico
    HUMAN RESOURCES OFFICE OF THE COMMONWEALTH OF PUERTO RICO Conflict
                              Mediation Center
                    PO Box 8476, San Juan, PR 00910-8476

                                                      NOTICE FOR MEDIATION


       Félix Rivera Clemente                                                                                     2007-05-1167-465
              Appellant                                                                                           CMC CASE NO.

                       v.                                                                                      2007-05-1167
                                                                                                             CASARH CASE NO.
                   DTOP
                  Appellee                                                                                         July 19, 2007
                                                                                                                        Date

 Félix Rivera Clemente
 Appellant
 HC-01 Box 9045,                                                                                            Sarah D. Irizarry
 Loíza, PR 00772                                                                                          Name of Case Mediator

Dear Mr. Rivera:

This case was referred by CASARH to our Mediation Center. You are hereby summoned for the
process mediation meeting on August 16, 2007, at 10:00 a.m. at our facilities.

If you cannot attend this meeting, if you resolve the situation before it is held, or if you have any
questions, you can contact the Center at (787) 781-4300, extensions 2201 or 3050.

Yours sincerely,

                    [Signature]
           Sarah D. Irizarry Cruz, Mediator
            Assistant Director of the Center
               or Authorized Person

                                      FOR USE OF THE CONFLICT MEDIATION CENTER

 Sent by:             Mail                Personal                        Other__________________________

            The name of a legal representative was not sent to the Center on behalf of the person summoned.

            A copy of this summons was sent to the person's legal representative at the following address:

            ______________________________________________________________________________

            ______________________________________________________________________________



Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit D-1 Page 12 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



July 17, 2007

                                                                                          Confidential
                                                             [date stamp and illegible handwriting]

Mr. Félix Rivera Clemente
Road Traffic Sign Workshop Supervisor
Road Traffic Signage Office

Mr. Rivera Clemente:

On June 27, 2007, you attended an informal investigation at this Office due to various
situations that occurred with staff from the Sign Workshop. Upon analyzing the facts
presented by both you and the employees of the Road Traffic Signage Office, it was found
that you have problems in performing your tasks. Therefore, we have decided to refer you to
the Employee Assistance Program. This is for the purpose of being referred to an
Occupational Physician who shall indicate to us whether you are capable of performing the
essential functions of your position.

This decision is based on the provisions of Article 6, Section 6.6, Provisions on Retention,
Subsection 9 (b) of Law Number 184 of August 03, 2004, as amended.

If you are not in agreement with this decision, you may request an administrative hearing
within ten (10) business days of receiving this letter.

Yours sincerely,
                                                                                          SIGNATURE: [Signature]
[Signature]                                                                               DATE: 08/02/07
Marta E. Dávila Torres                                                                    WITNESS: [illegible name]
Acting Director                                                                         PLEASE RETURN THIS COPY TO
Human Resources Office                                                                  THE    HUMAN       RESOURCES
                                                                                        OFFICE, ONCE THE EMPLOYEE
                                                                                        HAS SIGNED




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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                          Exhibit D-1 Page 13 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




November 09, 2007



Mr. Félix Rivera Clemente
Road Traffic Signage Supervisor
Road Traffic Regulation Office

[Signature]
Eng. Wilson Avilés Larriuz
Director
Road Traffic Regulation Office

[Signature]
Marta E. Dávila Torres
Director
Human Resources Office

SUMMONS

On November 06, 2007, an incident involving you occurred at the Road Traffic Regulation
Office which resulted in a call to the Puerto Rico Police. Therefore, complaint no. Q-2007-1-
162-143665 had to be filed. This incident caused the employees of said Office to feel unsafe
carrying out their tasks.

To ensure the safety and adequate work environment for the Road Traffic Regulation
employees, we hereby summon you, prior to reporting to work, to report to this Office where
you will be attended to by the undersigned and Ms. Gladys N. Fuentes Cruz of the Special
Studies Section.

Your attendance is mandatory.


[hw:] Tuesday, November 06, at 3:00 P.M.


  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963
                                                                                                                 [hw:] Ext. 2184

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15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                          Exhibit D-1 Page 14 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




November 09, 2007



Mr. Félix Rivera Clemente
HC-01 Box 7630
Loíza, PR 00772-9743


SUMMONS

On November 06, 2007, an incident involving you occurred at the Road Traffic Regulation
Office which resulted in a call to the Puerto Rico Police. Therefore, complaint no. Q-2007-1-
162-143665 had to be filed. This incident caused the employees of said Office to feel unsafe
carrying out their tasks.

To ensure the safety and adequate work environment for the Road Traffic Regulation
employees, we hereby summon you, prior to reporting to work, to report to this Office where
you will be attended to by the undersigned and Ms. Gladys N. Fuentes Cruz of the Special
Studies Section.

Your attendance is mandatory.

Yours sincerely,

[Signature]
Marta E. Dávila Torres
Director
Human Resources Office




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



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           Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                     Desc:
                                    Exhibit D-1 Page 15 of 67

[Stamp:
COMMONWEALTH
OF PUERTO RICO –
APPEALS
COMMISSION OF
                                            Commonwealth of Puerto Rico
THE PUBLIC                APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
SERVICE HUMAN                                ADMINISTRATION SYSTEM
RESOURCES
ADMINISTRATION –                     PO Box 9023990, San Juan, PR 00902-3990
2004]                                   Tel. 787-721-5739 Fax. 787-725-1242
                                            http://www.casarh.gobierno.pr


                  Félix Rivera Clemente
                  First Name and Two Last Names
                                                                                                   Case Number: 2007-05-1167

          State v.
          Department of Transportation                                                               Transfer after providing memo
          And Public Works (Road Traffic                                                           Re: to employee
          Regulation Division)                                                                     (They took away my acquired rights)
              Name of the Agency or Municipality

                                                NON-ACCEPTANCE OF MEDIATION SERVICE

          The Appeals Commission provides mediation services, on occasions, in conjunction with the Human Resources
          Office of the Commonwealth of Puerto Rico ("ORHELA"), preferably in the areas of classification,
          compensation, recruitment and selection, promotion, transfer, demotion and retention. To benefit from this
          prompt, impartial, confidential and free service, please fill out the request below.

          TO THE HONORABLE COMMISSION:
                     The above-named party appears and very respectfully states, alleges and requests the
          following:
          1) I, Félix Rivera Clemente, in the above-mentioned appeal, am not interested in benefiting from the
          Mediation Program governed by Regulation #6993. I acknowledge and understand that it is a
          confidential, prompt, impartial and free process.
          2) I request that my appeal continue under the ordinary proceedings established in Procedural
          Regulation #7313.
          I CERTIFY that on this same day I served the above-mentioned other party with a copy of this letter
          at their address on record.
          RESPECTFULLY SUBMITTED
          In San Juan, Puerto Rico, on June 24, 2007
                                                                             [Signature]
                                                                             Signature


                                                      Name: Félix Rivera Clemente
                                                      Address: HC-01 Box 9045
                                                      Loíza, P.R. 00772
                                                      Phone: 787-358-5969 Fax:
                                                      Email:
                                                                                                                           Revised in April 2007

          Certified to be a correct and true translation from the source text in Spanish to the target language English.
          15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
          By Targem Translations Inc.
       Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                              Desc:
                                Exhibit D-1 Page 16 of 67

[Stamp:
COMMONWEALTH
OF PUERTO RICO –
APPEALS                                 Commonwealth of Puerto Rico
COMMISSION OF           APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
THE PUBLIC                               ADMINISTRATION SYSTEM
SERVICE HUMAN
                                                PO Box 9023990
RESOURCES
ADMINISTRATION –                          San Juan, PR 00902-3990
2004]                                          Tel: (787) 721-5739
                                      Website: http:www.casarh.gobierno.pr


                       FÉLIX RIVERA CLEMENTE

                                    Appellant                                                       CASE NO. 2007-05-1167

                                          v.

                DEPT. OF TRANSPORTATION AND                                                                  TRANSFERS
                        PUBLIC WORKS
                           Appellee                                                                              Subject


                                                                         - ORDER -

      TO THE APPELLEE:

              The Appeals Commission of the Public Service Human Resources Administration System had
      before it the above-referenced appeal and resolved:

                 “Article 13.13 (8) of Law No. 184 of August 03, 2004, as amended, establishes that the
                 Commission shall promote the use of alternative dispute resolution methods as a
                 mechanism to resolve disputes arising under this chapter. The Appeals Commission
                 reached an agreement with the Commonwealth's Human Resources Office
                 (O.R.H.E.L.A.) to provide said service in appeals filed regarding various matters as of
                 January 01, 2005. This appeal qualifies for the process.

                 You are hereby ordered, within a term of fifteen (15) calendar days, from the filing of this
                 document, to fill out and file the part of the attached form that you select, namely:
                 “Voluntary Request for Mediation Service” or “Non-acceptance of Mediation Service.” You
                 can also obtain the forms on our website www.casarh.gobierno.pr, and at the
                 Commission's Secretariat. For related information please refer to Mediation Program
                 Regulation #6983 and to Special Memorandum 2-2006, which are also available on our
                 website and at the Secretariat.

                 You are hereby warned that any unjustified non-compliance with the order may result in
                 financial penalties of thirty ($30) dollars up to three hundred ($300) dollars per instance
                 for yourself or your attorney, and even to dismissal and archiving with prejudice, under
                 the provisions of Procedural Regulation #7313 of the Appeals Commission, Article 2.9,
                 Section 13.9 (9) and 13.9 (11) of Law No. 184 of August 03, 2004, as amended and
                 Section 3.21 of Law No. 170 of August 12, 1988, as amended. “

                 TO BE SERVED.

                 In San Juan, Puerto Rico, on May 22, 2007.




      Certified to be a correct and true translation from the source text in Spanish to the target language English.
      15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
      By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                       Desc:
                          Exhibit D-1 Page 17 of 67


ORHELA-CMC- April 2006                                                                              [Emblem: ORHELA]

                                 Commonwealth of Puerto Rico
                HUMAN RESOURCES OFFICE OF THE COMMONWEALTH OF PUERTO RICO
                                   Conflict Mediation Center
                             PO Box 8476, San Juan, PR 00910-8476

                                               REPORT OF MEDIATION OUTCOME


           Félix Rivera Clemente v. DTOP
                  2007-05-1167                                                                      2007-05-1167-465
             CASARH CASE NO.                                                                        CMC CASE NO.


Agency or Entity: DTOP

Representative:                   Atty. Ariel Félix


Name of Case Participants:
      Mr. Félix Rivera Clemente (appellant)                                                                      [Signature]
     Atty. Ariel Félix (Repres. of Appellee)                                                                     [Signature]

In relation to the above-mentioned case and in accordance with the regulations of CASARH and ORHELA,
said case:

           Case undertaken without reaching mediation

           One or neither party attended the mediation

           Case closed and mediated without agreement

           Case archived (did not complete mediation)

           Other: _______________________

           Case closed and mediated with agreement
           Explain:

           The parties met in the mediation process but could not reach an agreement. The case is
           returned to CASARH as mediated without agreement.


Signature of Mediator(s):


[Signature]
      Sarah D. Irizarry Cruz, Mediator                                                               August 29, 2007


I certify as correct:

        Yamil Marrero Viera, Esq.                                                                   August 29, 2007
     Signature of the Center's Assistant Director                                                        Date




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
       Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                            Desc:
                                Exhibit D-1 Page 18 of 67
[Stamp:
COMMONWEALTH
OF PUERTO RICO
– APPEALS                               Commonwealth of Puerto Rico
COMMISSION OF
THE PUBLIC
                      APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
SERVICE HUMAN                            ADMINISTRATION SYSTEM
RESOURCES                  PO Box 9023990 San Juan, PR 00902-3990 Tel (787) 721-5739
ADMINISTRATION                       Website: http: www.casarh.gobierno.pr
– 2004]
                                                                                               [illegible filing date stamp – JUN 27]
                      FÉLIX RIVERA CLEMENTE

                                    Appellant                                                      CASE NO. 2007-05-1167

                             v.
               DEPT. OF TRANSPORTATION AND                                                                  TRANSFERS
                       PUBLIC WORKS
                          Appellee                                                                               Subject


                                       - ORDER REMANDING TO MEDIATION PROGRAM -

      TO THE ABOVE-NAMED PARTIES:

            The Appeals Commission of the Public Service Human Resources Administration System
      (“CASARH”), had before it the above-referenced appeal and resolved:

                 On May 30, 2007, the above-named appellant requested the services of the
                 Mediation Program, pursuant to Regulation #6983, while the aforementioned
                 request was evaluated with the corresponding appeal, and this appeal is remanded
                 as of June 30, 2007, to the Mediation Center of the Human Resources Office of the
                 Commonwealth of Puerto Rico (ORHELA) to hold the initial meeting with the parties.
                 It is further ordered that the original case with all its documents be transferred to
                 ORHELA to process the appeal. The mediation process must conclude within a term
                 not exceeding sixty (60) days from the date of the aforementioned notice. However,
                 CASARH, in conjunction with ORHELA may, on its own initiative or on a party's
                 motion, extend or shorten this term for just cause. If no type of agreement is reached
                 or one of the parties, after the initial meeting, chooses not to continue with the
                 mediation process, the case shall be brought to the attention of the Appeals
                 Commission for continuation of the procedures as established in Procedural
                 Regulation #7313 and Law 170 of August 12, 1988, known as the Uniform
                 Administrative Procedure Law of the Commonwealth of Puerto Rico.

                 You are hereby warned that any unjustified non-compliance with the order shall
                 constitute acceptance for an economic or procedural sanction to be imposed on
                 yourself or your attorney, if the latter is responsible for the non-compliance, in
                 accordance with the provisions of Section 13.9 (9) and 13.9 (11) of the Human
                 Resources Administration Act, Act 184 of August 03, 2004, as amended, Procedural
                 Regulation No. 7313 of the Appeals Commission and Section 3.21 of the Uniform
                 Administrative Procedure Act, Act No. 170 of August 12, 1988, as amended.

                 TO BE SERVED.                                                                     [Stamp: ORHELA – COMMONWEALTH OF PUERTO RICO –
                                                                                                   HUMAN RESOURCES OFFICE OF THE COMMONWEALTH –
                 In San Juan, Puerto Rico, on June 21, 2007.                                       Sarah Irizarry Cruz – MEDIATOR – CONFLICT MEDIATION
                                                                                                   CENTER – PO BOX 8476, San Juan, Puerto Rico 00910-8476,
                                                                                                   METRO OFFICE PARK, CALLE 1 LOTE 18, GUAYNABO,
                                                                                                   PUERTO RICO, Tel. (787) 781-430, Exts. 305, Fax (787) 706-566,
                                                                                      2            Email: sirizarry@orhela.gobierno.pr, X4039, 2201, 3050]



      Certified to be a correct and true translation from the source text in Spanish to the target language English.
      15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
      By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                          Exhibit D-1 Page 19 of 67




       I CERTIFY that on this date,                I filed the original of this Order in the
appeal's case files and sent a true and exact copy of it to the parties, to their addresses on
record.


                                            GRYMARYS DE JESÚS AFANADOR
                                               COMMISSION SECRETARY


APPELLEE:
DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS
LEGAL DIVISION
PO BOX 41269
SAN JUAN, PR 00940-1269

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA. PR 00772

MCBV/emr




Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
     Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                        Desc:
                              Exhibit D-1 Page 20 of 67
[Stamp: COMMONWEALTH
OF PUERTO RICO –
APPEALS COMMISSION
OF THE PUBLIC SERVICE
HUMAN      RESOURCES                          INFORMATIVE GUIDE TO CORRECTLY
ADMINISTRATION – 2004]                            FILE AN APPEAL REQUEST

                 *** Please carefully read Article II of the Commission's procedural regulations ***
    (Available free of charge on our website www.casarh.gobierno.pr. Available for purchase at the Secretariat for
                  $11.50 payable by check or money order payable to the “Secretary of the Treasury”)


   I.   Any appeal or complaint request to be filed pro se, without legal representation, may use the
        appeal form available at the Secretariat and on our website. The available forms are:

             Appeal Request

             Appeal Request with Mediation Service

             Appeal Request with allegations of discrimination and claim for damages

   II. Appellants who appear pro se or represented by an attorney must file their request in compliance
       with the requirements established in the applicable regulations, among which are the following:

             Procedural Regulations

             Regulations to handle Discrimination Appeals with Damages

             Regulations of the Conflict Mediation Program

   III. The appeal request shall be subject to an investigation stage to verify that it complies with the
        filing requirements established in the Procedural Regulations, and if they are met, it shall be
        identified and processed as an appeal, otherwise it shall be returned to the party that filed the
        request.

   IV. Among the general requirements that the written appeal request must contain, and subject to the
       provisions of the Procedural Regulations as form requirements, are the following:

                    1) The appeal must be filed within (30) consecutive days from when you become aware
                       of the action against you, from when you were notified, or from the expiration of the
                       term of sixty (60) days, from when a written claim was made to the appointing authority
                       and it did not reply.

                    2) Only the seal of the Secretariat of the Commission shall be used in determining the
                       filing date, regardless of the means used for its filing. If said term has expired, the
                       appeal shall be archived due to lack of jurisdiction.

                    3) Full name of the appellant, their physical and postal address, telephone number, email,
                       fax, and the status as an employee or citizen applying for employment. If represented
                       by an attorney, the attorney's full name, bar license number, postal address, telephone
                       number, email and fax shall be included in said document.




   Certified to be a correct and true translation from the source text in Spanish to the target language English.
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   By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                          Exhibit D-1 Page 21 of 67

   [Stamp: COMMONWEALTH
   OF PUERTO RICO –
   APPEALS COMMISSION
   OF THE PUBLIC SERVICE                   INFORMATIVE GUIDE TO CORRECTLY
   HUMAN      RESOURCES                        FILE AN APPEAL REQUEST
   ADMINISTRATION – 2004]


                 4) The appeal shall state the facts of the claim or infringement, the grounds of law or
                    regulations on which it is based, and the remedy that is requested.

                 5) You must advise whether you have or have had any other case filed with the
                    Commission (Include the case number), or in another court (Include the court, parties,
                    case number and subject).

                 6) You must advise whether you are covered by the Civil Servants' Unionization Law, if
                    your position belongs to an appropriate unit, if you exercised your right to join, and
                    whether there is a current collective agreement that covers it.

                 7) You must submit a copy of the appointing authority's final decision, or of the claim not
                    answered by it, of the notification of charges, and of any other document that helps
                    determine the jurisdiction.

                 8) When an appellant petitions the Commission for relief alleging the existence of any
                    type of discrimination, the petition must clearly detail the specific facts that have given
                    rise to the allegation. The Commission shall only assume jurisdiction over the dispute
                    when specific allegations arise from the appeal document that establish on their face
                    the existence of the discriminatory action. If the appeal includes a request for damages,
                    it must comply with the provisions of the “Regulations for dealing with Discrimination
                    Appeals with Damages”.

                 9) The appeal must be signed by you and your attorney.

               10) The appellant must notify the appellee within a term of (30) days to file the appeal
                   request, in person or by certified mail, and thus provide evidence of it to the
                   Commission.

v. Other Matters:

    • Any change in information related to, among other matters, address, email, fax or telephone
      that may arise within the course of the procedures, must be notified to the Commission. If the
      parties or their attorneys do not notify the change and said notifications are sent according to
      the information that emerges from the records, it shall not be accepted as a defense or excuse
      that said notification was not received by the parties.

    • Any procedural information regarding your case is available through our website. It may also
      be requested in WRITING to the Secretariat of the Commission. Include your full name and
      your case number.

    • With this being the court that shall adjudicate your dispute, the Secretariat staff and agency
      officials are not authorized to give you legal advice on your cause of action or remedy. We
      recommend using the services of an attorney you trust.

    • In the event that an order is issued during the appeal process in order to comply with that
      requested, non-compliance with the Order may result in the appeal's archiving.

    • If you have legal representation, all communication, as a general rule, shall be through your
      representative.
Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
       Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                     Desc:
                                Exhibit D-1 Page 22 of 67
               [hw:] Carlos J. Gonzalez Miranda, Ph.D.
               Secretary
[Stamp:
COMMONWEALTH
OF PUERTO RICO                          Commonwealth of Puerto Rico
– APPEALS             APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
COMMISSION OF
THE PUBLIC
                                         ADMINISTRATION SYSTEM
SERVICE HUMAN                    PO Box 9023990, San Juan, PR 00902-3990
RESOURCES                           Tel. 787-721-5739 Fax. 787-725-1242
ADMINISTRATION                          http://www.casarh.gobierno.pr
– 2004]


              Félix Rivera Clemente
              First Name and Two Last Names
                                                                                               Case Number: 2007-05-1167
                    v.
      State Department of Transportation                                                                Transfer after providing memo
      And Public Works (Road Traffic                                                           Re: to employee
      Regulation Division)                                                                     (They took away my acquired rights)
          Name of the Agency or Municipality

                                            NON-ACCEPTANCE OF MEDIATION SERVICE

      The Appeals Commission provides mediation services, on occasions, in conjunction with the Human Resources
      Office of the Commonwealth of Puerto Rico ("ORHELA"), preferably in the areas of classification,
      compensation, recruitment and selection, promotion, transfer, demotion and retention. To benefit from this
      prompt, impartial, confidential and free service, please fill out the request below.

      TO THE HONORABLE COMMISSION:
                 The above-named party appears and very respectfully states, alleges and requests the
      following:
      1) I, Félix Rivera Clemente, in the above-mentioned appeal, am not interested in benefiting from the
      Mediation Program governed by Regulation #6993. I acknowledge and understand that it is a
      confidential, prompt, impartial and free process.
      2) I request that my appeal continue under the ordinary proceedings established in Procedural
      Regulation #7313.
      I CERTIFY that on this same day I served the above-mentioned other party with a copy of this letter
      at their address on record.
      RESPECTFULLY SUBMITTED
      In San Juan, Puerto Rico, on June 24, 2007
                                                                         [Signature]
                                                                         Signature


                                                  Name: Félix Rivera Clemente
                                                  Address: HC-01 Box 9045
                                                  Loíza, P.R. 00772
                                                  Phone: 787-358-5969 Fax:
                                                  Email:
                                                                                                                       Revised in April 2007


      Certified to be a correct and true translation from the source text in Spanish to the target language English.
      15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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        Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                      Desc:
                                 Exhibit D-1 Page 23 of 67
[Stamp:
COMMONWEALTH
OF PUERTO RICO
–       APPEALS                           Commonwealth of Puerto Rico
COMMISSION OF          APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
THE      PUBLIC                            ADMINISTRATION SYSTEM
SERVICE HUMAN
RESOURCES                       Ave. Ponce de León 268 Hato Rey Center Suite 600
ADMINISTRATION                      PO Box 192394 San Juan. PR 00919-2394
– 2004]                                Tel 787-721-5739 Fax. 787-725-1242
                                           http://www.casarh.gobierno.pr

               Félix Rivera Clemente
               First Name and Two Last Names
                                                                                                Case Number: 2007-05-1167

       Department of Transportation
       Regulation Division)                                                                     Re:        Transfer
          Name of the Agency or Municipality


                                               MOTION IN COMPLIANCE WITH ORDER

       TO THE HONORABLE COMMISSION:

             The above-mentioned appellant, Félix Rivera Clemente, appears on his own behalf
       and very respectfully states, alleges and requests:

       1) That I received an order on the following date                                                    related to [illegible]
       [Signature].

       2) That I hereby notify you of the compliance with the aforementioned order as follows:

       I would hereby like to notify you that I have interest in pursuing the case and I shall therefore
       notify my legal representative to communicate with this commission. Atty. [Edmée Vincenty]
       – Tel.: 787-751-2590.




       IN VIEW OF ALL THE FOREGOING, I respectfully request this Honorable Appeals
       Commission to take cognizance of the foregoing, to deem the aforementioned order as
       complied with, and to issue the decision that is appropriate in law.

       I CERTIFY, that on this same date I have sent a copy of this motion to the other party to their
       address on record, using the following mechanism: □ in person □ regular mail or certified
       mail with acknowledgement of receipt to the following address:

       □ Other:
       RESPECTFULLY SUBMITTED /                                           /
       In San Juan, Puerto Rico on September 30, 2020.



       Certified to be a correct and true translation from the source text in Spanish to the target language English.
       15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
       By Targem Translations Inc.
    Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                               Desc:
                             Exhibit D-1 Page 24 of 67

[Stamp:
COMMONWEALTH
OF PUERTO RICO
–       APPEALS                 Commonwealth of Puerto Rico
COMMISSION OF
                APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
THE      PUBLIC
SERVICE HUMAN                    ADMINISTRATION SYSTEM
RESOURCES                             PO Box 9023990
ADMINISTRATION                    San Juan, PR 00902-3990
– 2004]                              Tel: (787) 721-5739
                                                    Website: http:www.casarh.gobierno.pr


                     FÉLIX RIVERA CLEMENTE

                                  Appellant                                                       CASE NO. 2007-05-1167

                             v.
               DEPT. OF TRANSPORTATION AND                                                                TRANSFERS
                       PUBLIC WORKS
                          Appellee                                                                            Subject


                                                                      - ORDER -

   TO THE ABOVE-NAMED PARTIES:

              The Appeals Commission of the Public Service Human Resources Administration System (“CASARH”),
   had before it the above-captioned appeal and resolved:
              The above-captioned appeal was referred to the Mediation Service of the Human Resources Office of
   the Commonwealth of Puerto Rico which notifies us that the parties have chosen not to receive said services.
   In accordance with the foregoing, the continuation of the above-mentioned appeal proceedings before the
   Appeals Commission is ordered in accordance with the provisions of Procedural Regulation #7313.

              TO BE SERVED.

              In San Juan, Puerto Rico, on September 11, 2007.

            I CERTIFY that on this date, September 11, 2007, I archived the original of this Order in the appeal's
   case files and that I have sent a true and exact copy of it to the parties, to their addresses on record.

                                                             [Signature]
                                                    GRYMARYS DE JÉSÚS AFANADOR
                                                       COMMISSION SECRETARY

   APPELLEE:
   ARIEL FÉLIX CINTRÓN, ESQ.
   APARTADO 42007
   SAN JUAN, PR 00940-2007

   APPELLANT:
   FÉLIX RIVERA CLEMENTE
   HC-01 BOX 9045
   LOÍZA, PR 00772

   MCBV/emr




   Certified to be a correct and true translation from the source text in Spanish to the target language English.
   15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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    Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                                            Desc:
                             Exhibit D-1 Page 25 of 67
[Stamp:
COMMONWEALTH
OF PUERTO RICO
–       APPEALS                 Commonwealth of Puerto Rico
COMMISSION OF APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
THE      PUBLIC                   ADMINISTRATION SYSTEM
SERVICE HUMAN               PO Box 192394. San Juan PR 00919-2394
RESOURCES         268 Ave Ponce de León, Edif. Hato Rey Center, Suite 600, Piso 6
ADMINISTRATION
                                      Tel. (787) 721-5739
– 2004]
                                                      Website: http://www.casarh.gobiemo.pr

                      FÉLIX RIVERA CLEMENTE

                                    Appellant                                                           CASE NO. 2007-05-1167

                                         v.

                DEPT. OF TRANSPORTATION AND                                                                     TRANSFERS
                        PUBLIC WORKS
                           Appellee                                                                                  Subject


                                                                             ORDER

   TO THE ABOVE-MENTIONED PARTIES:

              The Hearing Officer, Itzel Aguilar Pérez, Esq. had before her the above-mentioned appeal and ordered:

           TO THE APPELLANT: You are ordered to show cause, within twenty (20) calendar days from this
   appeal's archiving, as to why we should not impose a financial penalty on you for abandonment and lack of
   interest.

           Failure to comply with said term shall automatically lead to a financial penalty in the amount of fifty
   ($50) dollars, which must be paid within five (5) days.

              If interested, please comply with the following order:

           TO THE PARTIES: In accordance with Article IV, Section 4.1 of the Procedural Regulations, the parties
   are ordered to meet within a term of thirty (30) calendar days from the date when the appeal is archived to:

        1) Examine the possibility of reaching an agreement that puts an end to the dispute.
        2) Identify and simplify the dispute or disputes to be adjudicated or presented.
        3) Stipulate and list the facts not subject to dispute, which may be admitted provided that the Commission
           or Examining Officer determines that this serves the best public interests.
        4) Identify the pertinent documentary evidence, and if possible, the admission of evidence which shall not
           lead to any objection.
        5) The parties and their attorneys must mark the documents to be used in the case prior to submitting
           them, as well as a list of the stipulated evidence.
        6) Exchange a list of the witnesses that they intend to use in the public hearing and a brief indication of
           the purposes, relevance and scopes of their statements.

        7) Propose to the Commission or the Examining Officer any other mechanism that is in harmony with the
           due process of[...]


   1
     We have tools available through our website http://www.casarh.gobierno.pr to obtain information, statuses and forms related to the proceedings before
   CASARH. Among others, there are: (1) Law #184 of August 03, 2004, as amended. (2) Regulations applicable to the court such as Procedural Regulations,
   Regulations for the Conflict Mediation Program, and Discrimination Claims, (3) forms for appellants without legal representation, these being; Motion
   Requesting Waiver with Prejudice, Consultation Report Prior to Public Hearing, Motion Requesting an Order. Informative Motion. Appeal Request. Request for
   a Claim of Discrimination and Request for Mediation, among others, (4) schedule of public hearings: (5) statuses of cases, and (6) rulings with reports from the
   CASARH's Examining Officer from 2005 to present, classified by subject.




   Certified to be a correct and true translation from the source text in Spanish to the target language English.
   15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                              Desc:
                          Exhibit D-1 Page 26 of 67




                                                                   -3-                     FÉLIX RIVERA CLEMENTE 2007-05-1167
                                                                                                                      ORDER

[…] indicated. The inability of the parties to confer prior to the hearing and/or produce a joint report, shall not
be just cause to adjourn scheduled hearings.

The above-mentioned parties are hereby warned that any unjustified non-compliance with the above may result
in dismissal of the appeal, its granting or any other relief the Appeals Commission deems necessary, including
possible fines between $30 and $300 for each separate instance, and/or procedural penalties according to the
power granted and the provisions of Act 184 of August 03, 2004, as amended, Procedural Regulation #7313,
and the Uniform Administrative Procedure Law.

The parties are hereby warned that non-compliance with the orders issued by this Commission, the suspension
of duly designated hearings, and the granting of extensions constitute exceptional circumstances that prevent
compliance with the term provided by Section 3.13 (g) of the Uniform Administrative Procedure Act, Act No.
170 of August 12, 1988, as amended.

The parties are advised of their right to appear before this court through legal representation or on their own
behalf, subject to the provisions of Article II, Section 2.4 of Procedural Regulation #7313 of the Appeals
Commission of the Human Resources Administration System of the Commonwealth of Puerto Rico.

TO BE SERVED AND FILED.

In San Juan, Puerto Rico, on September 22, 2010.

                                                                [Signature]
                                                          ITZEL AGUILAR PÉREZ
                                                              Hearing Officer

         I CERTIFY that on this date, September 27, 2010, I filed the original of this Order in the appeal's case
files and that I have sent a true and exact copy of it to the parties, to their addresses on record.

                                                            [Signature]
                                                   CIAMARA TORRES RODRIGUEZ
                                                         Acting Secretary

APPELLEE:
ARIEL FÉLIX CINTRÓN, ESQ.
APARTADO 42007
SAN JUAN, PR 00940-2007

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772

IAP/pas




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                              Exhibit D-1 Page 27 of 67

[Stamp:
COMMONWEALTH
OF PUERTO RICO –                         Commonwealth of Puerto Rico
APPEALS                  APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
COMMISSION OF                             ADMINISTRATION SYSTEM
THE      PUBLIC                                  PO Box 9023990
SERVICE HUMAN                              San Juan, PR 00902-3990
RESOURCES                                       Tel: (787) 721-5739
ADMINISTRATION                         Website: http:www.casarh.gobierno.pr
– 2004]


                      FÉLIX RIVERA CLEMENTE

                                   Appellant                                                       CASE NO. 2007-05-1167

                                        v.

                DEPT. OF TRANSPORTATION AND                                                                TRANSFERS
                        PUBLIC WORKS
                           Appellee                                                                            Subject


                                                                       - INITIAL ORDER -

    TO THE ABOVE-NAMED PARTIES:

             The Appeals Commission of the Public Service Human Resources Administration System had before
    it the above-mentioned appeal and resolved:

    On May 30, 2007, the appellant filed an Appeal Request and Voluntary Request for Mediation Service
    under Law No. 184 of August 03, 2004, as amended, in compliance with the Procedural Regulations, having
    notified the appellee on May 16, 2007, according to evidence received by the Commission. The number
    assigned to said claim is the one in the caption.

    Under the Procedural Regulations and in accordance with the terms established therein, and in seeking a fair,
    prompt and economical solution for the matter before us, the present Initial Order was entered:

              I.          Filing Documents before the Appeals Commission

    When filing any document related to the above-captioned matter, the appeal number and the caption must be
    included, and the requirements established in the Procedural Regulations must be complied with. Every
    document shall be signed and include the up-to-date information of the party that files it. All filing by email or
    fax is subject to filing of the original document within (3) business days of its submission, in which case the filing
    date shall be rolled back to that of the receipt by e-mail or fax, and if the original is not received within this term,
    then the document received shall be deemed not filed. Attorneys and parties should avoid overloading case
    files with informative motions or matters that can be resolved between them.

              II.         Response to the Appeal

    The appellee must respond to the appeal filed by the appellant and filed with the Secretariat of the Commission
    within fifteen (15) consecutive days from the appeal's notification. This party shall provide the Commission with
    a true and exact copy of any document that is relevant or indispensable for the dispute's adjudication, or of
    which official notice may be taken. Any adequate allegation in the appeal not denied by the response may be
    deemed as admitted by the appellee and the Commission may subsequently make conclusions of fact and law
    based on such admission. In the cases of recruitment and layoffs in the probationary period where the decision
    of the appointing authority is based on a confidential investigation, the appellee shall include with the response
    a copy of said Confidential Investigation Report in a redacted manner, protecting the parties' identities. The
    Answer to the Appeal must be filed within (15) days from the date of service, and Requests for an extension for
    just cause or non-compliances with the provisions of the applicable Regulations or the orders issued, the
    complexity of the matters brought before the court, incomplete case files, […]



    Certified to be a correct and true translation from the source text in Spanish to the target language English.
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    By Targem Translations Inc.
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                          Exhibit D-1 Page 28 of 67


FÉLIX RIVERA CLEMENTE                                                         3                                  2007-05-1167


[…] consent of the parties, consolidations, just causes, the number of appellants, taking into account the
particular circumstances of each appeal, lack of human and economic resources of the Commission, shall never
be considerations that may constitute exceptional circumstances or just cause for not ruling on the adjudicative
proceedings in the governing terms of the Uniform Administrative Procedure Law.

          III.        Warning

The parties are hereby warned that any unjustified failure to comply with the order or with the terms provided in
the Procedural Regulations, may constitute acceptance for us to dismiss the appeal due to failure to comply
with an order, abandonment, and lack of interest, contempt of court of the appellee, or other imposition of
procedural or financial penalties under the provisions of the Procedural Regulation #7313 of the Appeals
Commission, the power granted in Sections 13.9 (9) and 13.9 (11) of the Public Service Human Resources
Administration Act, Act No. 184 of August 03, 2004, as amended and by Section 3.21 of the Uniform
Administrative Procedures Act, Act No. 170 of August 12, 1988, as amended.


           TO BE SERVED.

           In San Juan, Puerto Rico, on October 11, 2007.


        I CERTIFY that on this date, October 11, 2007, I filed the original of this Order and that I have sent a
true and exact copy of it to the parties, to their addresses on record.


                                                          [Signature]
                                                 GRYMARYS DE JESÚS AFANADOR
                                                    COMMISSION SECRETARY


APPELLEE:
ARIEL FÉLIX CINTRÓN, ESQ.
APARTADO 42007
SAN JUAN, PR 00940-2007

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772

MCBV/ctr




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 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                               Desc:
                          Exhibit D-1 Page 29 of 67


                                                GOVERNMENT OF PUERTO RICO
                                           PUBLIC SERVICE APPEALS COMMISSION
                                             PO Box 41149, San Juan, PR 00940-1149
                                         Ave. Ponce de León 1409, Parada 20, Edificio CEM
                                              Sexto Piso, Santurce, Puerto Rico 00907
                                              Tel (787) 723-4242 / Fax (787) 723-4699
                                                   Website: http://www.casp.pr.gov


                  FÉLIX RIVERA CLEMENTE

                              Appellant                                                        CASE NO. 2007-05-1167

                                    v.

                  DEPARTMENT OF                                                                        TRANSFERS
             TRANSPORTATION AND PUBLIC
                      WORKS
                     Appellee                                                                              Subject


                                                                    ORDER

TO THE ABOVE-MENTIONED PARTIES:

           The Public Service Appeals Commission had before it the above-mentioned appeal and resolved:

           We acknowledge the “Motion to Waive Legal Representation,” filed by the appellee on February 23,
           2011.

           Antonia I. García Matos, Esq. is relieved as counsel for the appellee.

           The Secretariat of this Commission and the appellant are ordered to serve all documents related to the
           above-mentioned case to:

                                            MARIA ELENA VÁZQUEZ GRAZIANI, ESQ.
                                                   EDIFICIO DORAL BANK
                                             CALLE RESOLUCIÓN #33, SUITE 805
                                                  SAN JUAN PR 00902-2717.

           With regard to the Motion Assuming Legal Representation and Request for an Extension to Comply
           with the Order issued in relation to the Conference Report, filed by the appellee on February 22, 2011,
           it is declared: GRANTED.

           The above-named parties are ordered to submit their Joint Conference Report prior to the Public
           Hearing within the non-extendable term of thirty (30) calendar days, from the filing of this notice.

           In addition, they are ordered to report on the possibility of resolving this appeal by means of a settlement
           agreement within the term set forth herein and, if so, to submit it.

           The parties are hereby advised that any unjustified non-compliance with the order, within the granted
           term, shall constitute acceptance of the procedural or financial penalty of no less than thirty dollars
           ($30) but not to exceed three hundred dollars ($300) for each separate penalty on the party or their
           attorney, if the latter is responsible for the non-compliance, in accordance with the provisions of Section
           13.9 (9) and 13.9 (11) of the Human Resources Administration Act, Act 184 of August 03, 2004, as
           amended, Article III and Section 8.14 of Procedural Regulation No. 7313 of the Appeals Commission
           […]




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                                                                                         FÉLIX RIVERA CLEMENTE 2007-05-1167
                                                                                                                    ORDER

           […] and Section 3.21 of the Uniform Administrative Procedure Act, Act No. 170 of August 12, 1988, as
           amended.

           TO BE SERVED AND FILED.

           In San Juan, Puerto Rico, May 18, 2011

                                                                [Signature]
                                                             EVELYN D. RÍOS
                                                          Associate Commissioner

       I CERTIFY that on this date, May 07, 2011, I filed the original of this Order and that I have sent a true
and exact copy of it to the parties, to their addresses on record.

                                                                [Signature]
                                                        FRANCISCO J. VALLS FERRERO
                                                                 Secretary

APPELLEE:
ANTONIA GARCÍA MATOS, ESQ.
PO BOX 41269
DEPT. OF TRANSPORTATION
SAN JUAN, PR 00940-1269

MARÍA ELENA VÁZQUEZ GRAZIANI, ESQ.
GLORIMAR ACEVEDO CRUZ, ESQ.
EDIF. DORAL BANK 805
CALLE RESOLUCIÓN #33
SAN JUAN, PR 00920-2717

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772

EDRR/pas




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                          Exhibit D-1 Page 31 of 67




                                               GOVERNMENT OF PUERTO RICO
                                           PUBLIC SERVICE APPEALS COMMISSION
                                         PO Box 41149, San Juan, Puerto Rico 00940-1149
                                   Ave. Ponce de León 1409, Parada 20, Edificio CEM, Sexto Piso
                                                    Santurce, Puerto Rico 00907
                                             Tel. (787) 723-4242 / Fax (787) 723-4699
                                                       http://www.casp.pr.gov

                    FÉLIX RIVERA CLEMENTE

                               Appellant                                                         CASE NO. 2007-05-1167

                                    v.

   DEPARTMENT OF TRANSPORTATION AND PUBLIC                                                              TRANSFERS
                   WORKS
                   Appellee
                                                                                                            Subject


                                                                      ORDER

TO THE APPELLEE:

           Associate Commissioner Carmen T. Lugo Somolinos, had before her the above-captioned appeal and resolved:

           You must indicate within five (5) days why you have not complied with the Order issued on May 18, 2011.

           You are hereby warned that any unjustified failure to comply with the order, within the granted term, shall
           constitute acceptance of a procedural or financial penalty of no less than thirty dollars ($30) but not to
           exceed three hundred dollars ($300) for each separate instance for the party or their attorney, if the latter
           is responsible for the non-compliance, in accordance with the provisions of Section 13.9 (9) and 13.9
           (11) of the Human Resources Administration Act, Act 184 of August 03, 2004, as amended, Article III
           and Section 8.14 of Procedural Regulation No. 7313 of the Appeals Commission and Section 3.21 of the
           Uniform Administrative Procedure Act, Act No. 170 of August 12, 1988, as amended.

           TO BE SERVED AND FILED.

           In San Juan, Puerto Rico, on July 13, 2011.

                                                               [Signature]
                                                      CARMEN T. LUGO SOMOLINOS
                                                         Associate Commissioner

         I CERTIFY that on this date, July 14, 2011, I archived the original of this Order in the appeal's case files and that
I have sent a true and exact copy of it to the Parties, to their addresses on record.

                                                              [Signature]
                                                      FRANCISCO J VALLS FERRERO
                                                               Secretary

ATTORNEY OF APPELLEE:
MARÍA ELENA VÁZQUEZ GRAZIANI, ESQ.
EDIFICIO DORAL BANK
CALLE RESOLUCIÓN #33 SUITE 805
SAN JUAN, PR 00920-2717

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772

CTLS/mpa


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                          Exhibit D-1 Page 32 of 67




                                                  Government of Puerto Rico
                                            PUBLIC SERVICE APPEALS COMMISSION
                                             PO Box 13934, San Juan, PR 00908-3934
                                                       Tel (787) 723-4242
                                                 Website: http://www.casp.pr.gov


                  FÉLIX RIVERA CLEMENTE

                              Appellant                                                        CASE NO. 2007-05-1167

                                    v.

     DEPARTMENT OF TRANSPORTATION AND                                                                  TRANSFERS
              PUBLIC WORKS
                 Appellee
                                                                                                           Subject



                                                                    ORDER

TO THE APPELLEE:

           The Public Service Appeals Commission had before it the above-captioned appeal and resolved:

           To Deny the Motion Requesting Dismissal with Prejudice.

TO THE ABOVE-MENTIONED PARTIES:

           You are ordered to comply with the Order of September 22, 2010, under penalty of fines, within
           a term of twenty-five (25) calendar days from the filing of the present document.

           You are hereby warned that any unjustified non-compliance with the order, within the granted
           term, shall constitute acceptance of a procedural or financial penalty of not less than thirty
           dollars ($30) nor more than three hundred dollars ($300) for each separate penalty on the
           party or their attorney, if the latter is responsible for the non-compliance, in accordance with
           the provisions of Section 13.9 (9) and 13.9 (11) of the Human Resources Administration Act,
           Act 184 of August 03, 2004, as amended, Article III and Section 8.14 of Procedural Regulation
           No. 7313 of the Appeals Commission and Section 3.21 of the Uniform Administrative
           Procedure Act, Act No. 170 of August 12, 1988, as amended.

           You are hereby warned that any non-compliance with the orders issued by this Commission,
           the suspension of duly designated hearings, and the granting of extensions constitute
           exceptional circumstances that prevent compliance with the term provided by Section 5.3 (e)
           and 8.17 of Procedural Regulation No. 7313 of the Appeals Commission and Section 3.13 (g)
           of the Uniform Administrative Procedures Act, Act No. 170 of August 12, 1988, as amended.

           TO BE FILED AND SERVED.

           In San Juan, Puerto Rico, on January 26, 2011.

                                                             [Signature]
                                                    CARMEN T. LUGO SOMOLINOS
                                                       Associate Commissioner




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                                              COMMONWEALTH OF PUERTO RICO
                                            PUBLIC SERVICE APPEALS COMMISSION
                                                  SAN JUAN, PUERTO RICO

  FÉLIX RIVERA CLEMENTE
                                                                             CIVIL NUM: 2007-05-1167
             PLAINTIFF

  V.                                                                            SUBJECT: TRANSFER

  DEPARTMENT OF                   TRANSPORTATION                   AND
  PUBLIC WORKS

             DEFENDANT


                                             MOTION TO BE RELIEVED AS COUNSEL
TO THE HONORABLE APPEALS COMMISSION:
       The undersigned attorney APPEARS and very respectfully STATES AND REQUESTS:
       1. The undersigned attorney holds the legal representation of the appellant.
       2. The undersigned attorney concluded his intervention for the matter for which he was hired by the
appellant, thereby he requests this Honorable Commission to relieve him of any future professional
responsibility in its regard.
       3. The appellant has not paid any attorney’s fees to the undersigned. The undersigned also certifies that
he has strictly complied with Section 20 regarding Professional Ethics.
       4. The defendant’s mailing address is as follows:
                                                                   HC-01 Box 9045
                                                                  Loíza, P.R. 00772


       5. This Honorable Appeals Commission is requested to relieve the undersigned attorney of any future
professional responsibility in its regard.
       THEREFORE, it is very respectfully requested that this Honorable Appeals Commission, in due course and
prior to the pertinent legal procedures, to relieve the undersigned attorney of any future professional
responsibility in its regard.
       I CERTIFY that I have sent a true and exact copy of this Motion to María Elena Vázquez Graziani, Esq.,
Vázquez Graziani & Rodríguez, Oficial Legal, C.S.P., Edificio Doral Bank, Suite 805, Calle Resolución #33, San
Juan, P.R. 00920-2717.
       RESPECTFULLY SUBMITTED, in San Juan, Puerto Rico, January 27, 2014.


                                                                               [Signature]
                                                                               GILBERTO E. PADUA TRABAL, ESQ.
                                                                               RUA NUM. 9,111
                                                                               1111 AVE. JESUS T. PIÑERO
                                                                               SAN JUAN, PUERTO RICO 00920-5605
                                                                               TEL: 787-765-6515 FAX. 787-793-3535
                                                                               E- MAIL: paduagilberto@hotmail.com
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                              Exhibit D-1 Page 34 of 67

[Stamp:
COMMONWEALTH
OF PUERTO RICO –
APPEALS                       Commonwealth of Puerto Rico
COMMISSION OF APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
THE      PUBLIC                ADMINISTRATION SYSTEM
SERVICE HUMAN
RESOURCES                PO Box 9023990, San Juan, PR 00902-3990
ADMINISTRATION                      Tel. 787-721-5739
– 2004]                             Fax. 787-725-1242
                                                         http://www.casarh.gobierno.pr
                                                                                                        [illegible filing date stamp]

              Félix Rivera Clemente
    First Name and Two Last Names


                       v.                                                         Subject Number:
               Dept. of Transportation and
               Public Works
               Name of the Agency or Municipality

                 APPEAL REQUEST AND VOLUNTARY REQUEST FOR MEDIATION SERVICE
                                                      (PRO SE)
    The Appeals Commission provides mediation services, on occasions, in conjunction with the Human
    Resources Office of the Commonwealth of Puerto Rico ("ORHELA"), preferably in the areas of
    classification, compensation, recruitment and selection, promotion, transfer, demotion and retention. To
    benefit from this prompt, impartial, confidential and free service, please fill out the request below. Please
    refer to the Mediation Program Regulations.

    TO THE HONORABLE COMMISSION:

    The above-mentioned appellant appears and very respectfully states, alleges and requests the following:

    1)         I am a career employee, Citizen applicant □, other □.
    2)         Is your position within an appropriate unit or protected by the Civil Servants' Unionization Law?
                No.
    3)         Trade Union Organization representing the appropriated unit:
                                                           N/A
    4)         Have you exercised your right to organize in a trade union? No, If you answer no,
    Explain:                                               Managerial
    5)         Is your position covered by a collective bargaining agreement No.
    Explain:
    6)         Indicate whether you have filed an appeal, claim or complaint in any other court related to the
    dispute submitted to the Commission No. If you answered yes, indicate:
    Court Name:
    Case Number:                                            Filing Date:
    7)         For each active appeal before the Commission in which you appear as appellant, list the parties,
    case number and subject:



                                                                                                                       Revised in April 2007


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                             COMMONWEALTH OF PUERTO RICO
                APPEALS COMMISSION OF THE PUBLIC SERVICE HUMAN RESOURCES
                                 ADMINISTRATION SYSTEM



                FÉLIX RIVERA CLEMENTE                                        CIVIL NUM.: 2007-05-1167

                           APPELLANT

                                    V.                                                  TRANSFERS

  DEPARTMENT OF TRANSPORTATION AND
           PUBLIC WORKS                                                                 SUBJECT

                            APPELLEE


                                           MOTION TO DISMISS WITH PREJUDICE


TO THE HONORABLE APPEALS COMMISSION:


           The Department of Transportation and Public Works, hereinafter referred to as DTOP,
appears through its undersigned legal representation and before this Honorable Court respectfully
STATES, ALLEGES AND REQUESTS:
                   1.     On May 15, 2007, Mr. Félix Rivera Clemente filed a document titled Appeal Request
                          and Voluntary Request for Mediation Service (Pro Se).
                   2.     In paragraph eleven (11) of the contested action, the appellant alleged the following:
                          “Transfer, change in functions”.
                   3.     In paragraph twelve (12) titled Appeal or Remedy Requested, he indicates: “That
                          the functions previously acquired be returned to me”.
                   4.     On July 23, 2007, Ariel Félix Cintrón, Esq. submitted before the Honorable Appeals
                          Commission of the Public Service Human Resources Administration System,
                          hereinafter referred to as CASARH, an Informative Motion in Request of
                          Documents.
                   5.     On August 29, 2007, the Human Resources Office of the Commonwealth of Puerto
                          Rico, Conflict Mediation Center, issued a Mediation Outcome Report. The Case
                          was closed and mediated without agreement. The document is signed by Mr. Félix
                          Rivera Clemente, appellant, Ariel Félix Cintrón, Esq., representative of the appellee
                          DTOP, Ms. Sarah D. Irizarry Cruz, mediator, and the




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                             COMMONWEALTH OF PUERTO RICO
                     DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS
                                HUMAN RESOURCES OFFICE




June 12, 2007


                                                                                                            Confidential and Private



Mr. Félix Rivera Clemente
Sign Workshop Supervisor
Road Traffic Regulation Office

[Signature]
Ivette M. Cartagena Rivera
Director
Human Resources Office

SUMMONS

By way of letter dated May 25, 2007, you submitted to this Office a situation that occurred on
May 08, 2007, with Mr. Angel R. Boria. For the purpose of investigating it, we are summoning
you to the Special Studies Section of this Office on Wednesday, June 27, 2007, at 10:00 a.m.

If you cannot attend on the aforementioned date, you can contact Ms. Gladys N. Fuentes
Cruz at (787) 722-2929 ext. 2184.

gfc


[hw:] He arrived at Road Traffic Regulation on Friday, June 15, 2007. He delivered it to me
on Wednesday, June 27, 2007.




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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




May 25, 2007




Ms. Ivette Cartagena Rivera
Director                                                                                [Stamp: HUMAN RESOURCES –
Human Resources Office                                                                     MAY 25, 2007 – Signature]

[Signature]
Félix Rivera Clemente
Sign workshop Supervisor
Road Traffic Regulation Office

ADMINISTRATIVE DECISION REFERRAL

On May 08, 2007, I wrote a memo to Angel R. Boria for insubordination, excessive use of his
cell phone during work hours, occasionally disappearing or being absent from the workshop
without permission, and making threats. After this situation, the Director Manuel Salcedo
Ortega made the administrative decision that I, Félix Rivera Clemente, Sign Workshop
Supervisor, cannot give instructions to the Sign makers, and that I had to give the instructions
to Carlos R. Román Vizcarrondo who is in Benjamín Rivera's office doing project completion
tasks, so that he would then come to the Sign workshop to give instructions to the sign
makers.

I look forward to your prompt intervention with this case.


cc: Eng. Manuel Salcedo Ortega




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963


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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




May 14, 2007



Fernando I. Pont
Acting Secretary
Department of Transportation and Public Works


Manuel Salcedo Ortega, P.E.
Acting Director
Road Traffic Regulation Office

[Signature]
Félix Rivera Clemente
Sign workshop Supervisor
Road Traffic Regulation Office

ADMINISTRATIVE DECISION

I would like to advise that on May 11, 2007, engineer Manuel Salcedo Ortega gave me a
memo stating that, as of on May 14, 2007, Mr. Carlos Román Vizcarrondo would supervise
the sign workshop staff in terms of assistance and production and this official would be in
charge of the technical development of the production of signs and other administrative tasks
on the necessary material. It is a decision which I do not agree with since it was made without
my presence.




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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




May 14, 2007



Manuel Salcedo Ortega, P.E.
Acting Director
Road Traffic Regulation Office
                                                                                  [Stamp: HUMAN RESOURCES –
                                                                                     MAY 16, 2007 – Signature]
[Signature]
Félix Rivera Clemente
Sign Workshop Supervisor
Road Traffic Regulation Office

ADMINISTRATIVE DECISION

In reply to your memorandum of May 11, 2007, I hereby advise that I do not agree with the
decision made since it was made without my presence, in addition to the fact that it delays
the production and quality of the work.

I would also like to advise that beginning today, May 14, 2007, I will no longer serve as the
Letter Design Machine Operator.




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




July 05, 2007



Manuel Salcedo Ortega, PE
Acting Director
Road Traffic Regulation Office


Félix Rivera Clemente
Signage Supervisor
Road Traffic Regulation Office

MEMO TO ANGEL R. BORIA FIGUEROA

On Monday July 02, 2007, at the traffic lights of Int. 176 with 8838 where Burger King is on
the right, I turned left at the traffic lights 4 vehicles behind Mr. Boria. I parked in the parking
lot outside the area for official vehicles. He parked where the official vehicles are, which is
across the street. I crossed over and I got to the where the punch clock is at 7:01 a.m. I talked
to Jaime Carvajal, and I looked for my card and gave it to him. I didn't enter the punch-in
area, then Angel Boria entered the workshop through the door on the workshop side (Rolling
Door). He didn't enter through the punch-in area.

On Tuesday, July 03, 2007, he punched my card at 7:07 a.m. while Angel Boria Figueroa's
card was punched at 6:56 a.m. His vehicle wasn't in the parking lot. He didn't enter through
the punch-in area as he entered through the door on the workshop side.




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                                     ILLEGAL PRACTICES OF THE EMPLOYER


Interfering in, encroaching, curtailing the rights of its employees.

Failure to accept or comply with an arbitration award.

Refusing to subject complaints and grievances and other disputes to the procedures
established in the Agreement.

Discriminating against an employee because they have made a complaint.

No longer maintaining a neutral attitude.

Suspending payment.

Persecution and Political Persecution.

Invasion of privacy.

Occupational harassment.




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                          Exhibit D-1 Page 42 of 67




           Discrimination based on:

                      Age, race, color, social status

                      Political ideas, stalking

       For all this discrimination and mistreatment from December 2000 until present, I ask
from the Secretary of Public Works, Carlos J. González Miranda, Ph.D.

                                                                 $60,000.000




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         ACCUSATION AGAINST THE EMPLOYER AND THE REGIONAL DIRECTOR
[hw:]          and against Luis R. Fuster Quintana


           Building on private property.

        In the premises in the old Town they made us work without air conditioning. The
electric plant was inside the bathroom, and they didn't send janitors to clean it.

       In the offices of the Sign Workshop the air conditioning was never turned on, and we
were the only ones without air conditioning there.

      In the Workshop where we moved, the central air conditioning was also damaged.
They had it repaired, but it was damaged again, and they did not fix it again.

           An air conditioner was installed on the wall, which I had to install myself.




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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



                                                             CERTIFICATION

                                                 VACATION AND SICK LEAVE

The balances up to June 30, 2007, are as follows:

Employee name:                   Félix Rivera Clemente

Social Security no.: REDACTED 6753

Office: Road Traffic Regulation

Vacation:    0
During the government shutdown he was given days off, and he owes 2 1/2 vacation days.

Sick Leave: 95 ½


Issued on this date, July 09, 2007, in San Juan, Puerto Rico.


I Certify as Correct:

[Signature]
Ivette M. Cartagena Rivera
Director
Human Resources Office




[Signature]
PRR-adm




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963


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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS


July 17, 2007

                                                                                                                 Confidential

Mr. Félix Rivera Clemente
Road Traffic Sign Workshop Supervisor
Road Traffic Signage Office

Mr. Rivera Clemente:

On June 27, 2007, you attended an informal investigation at this Office due to various
situations that occurred with staff from the Sign Workshop. Upon analyzing the facts
presented by both you and the employees of the Road Traffic Signage Office, it was found
that you have problems in performing your tasks. Therefore, we have decided to refer you to
the Employee Assistance Program. This is for the purpose of being referred to an
Occupational Physician who shall indicate to us whether you are capable of performing the
essential functions of your position.

This decision is based on the provisions of Article 6, Section 6.6, Provisions on Retention,
Subsection 9 (b) of Law Number 184 of August 03, 2004, as amended.

If you are not in agreement with this decision, you may request an administrative hearing
within ten (10) business days of receiving this letter.

Yours sincerely,

[Signature]
Marta E. Dávila Torres
Acting Director
Human Resources Office




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963


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15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                          Exhibit D-1 Page 46 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



August 13, 2009


Mr. Félix Rivera Clemente
Area Supervisor

[Signature]
Arthur Dones Negrón, EIT
Director
Road Traffic Regulation Department

[Signature]
Maria M. Trinidad Quiñones
Director, Human Resources Office
Assistant Secretary for Administration

NOTICE OF DEDUCTION
UNAUTHORIZED ABSENCE

On July 03, 2009, you allegedly took leave without the authorization of your Immediate
Supervisor, Mr. Arthur Dones Negrón, thus not complying with your regular work schedule.

The Department's Internal Regulations of Standards of Conduct and Disciplinary Measures
in Infraction No. 11, states the following:

“Unauthorized absence from work. Unauthorized absence shall be when: the employee
does not contact the Supervisor on the day of the absence to notify them of the reason for
their absence, or they do not communicate it within the first two (2) hours from their time of
arrival on the morning of the day of absence, or when the supervisor does not deem the
absence justified. When the employee incurs an unauthorized absence, the case shall be
referred to the Human Resources Office for the start of the salary deduction process”.

I am notifying you of the intention to deduct the 7:45 a.m. to 9:18 a.m. period on the
aforementioned date as an unauthorized absence. If you are not in agreement with this
decision, you have the right to request an informal administrative hearing within a period of
ten (10) business days from the receipt of this communication.

MTQ/rmp
[Signature]
  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963

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                          Exhibit D-1 Page 47 of 67



 [ Emblem: PUERTO RICO        ORI #:                                                  COMMONWEALTH OF PUERTO RICO               STATUS OF INCIDENT:
 POLICE – PROTECTION          PR-PPR-OON-1
 AND INTEGRITY]                                                                                                                   UNFOUNDED                  A    DEATH OF CRIMINAL
                              INCIDENT #:                                                PUERTO RICO POLICE                       CLARIFIED BY:              B    DENIED PROSECUTION
 PRP-468-9-99                 2007-1-162-14365                                                                                      ARREST                   C    DENIED EXTRADITION
                              REPORT TYPE:
                                                                                        INCIDENT REPORT                             EXCEPTIONAL              D
                                                                                                                                                             E
                                                                                                                                                                  DENIED COOPERATION
                                                                                                                                                                  MINOR, WITHOUT CUSTODY
                          X INITIAL REPORT          SUPPLEMENT                                                                                               N    NOT APPLICABLE
           COMPLAINANT: (Surnames, Name, Second Name)                                                                           SS NO.:                           TELEPHONE: (Landline)
           Aviles Lariu Wilson                                                                                                  REDACTED
                                                                                                                                            6123                  751-2025
           ADDRESS:                                                                                                                                               TELEPHONE: (Work)
           Carretera 8838 Sector 5 Obras Públicas                                                                                                                 (    )

           PLACE OF INCIDENT: (Exact Address)                                                                      CRIME:                    (Mark if motivated            CRIMINAL:
           Obras Públicas, Regulación de Tránsito                                                                                            by prejudice)

           Carretera 8838, Sector 5                                                                                1.                        1.                            1.

                                                                                                                   2.                        2.                            2.
           CRIME UCR CODE:                   DATE(S) OF INCIDENT:                    TIME OF INCIDENT:
           1.                                1.                                      1.                            3.                        3.                            3.
           2.                                2. 06-11-2007                           2. 17
           3.                                3.                                      3.
           REASON FOR PREJUDICE: (Mark one for crime # 1)

           RACIAL:                                                                         RELIGIOUS:                                              INDICATE THE CODE OF MOTIVE
           11   ANTI-WHITE                                                                 21   ANTI-SEMITIC                                       IF DIFFERENT TO CRIME # 1:
           12   ANTI-BLACK                                                                 22   ANTI-CATHOLIC
  CRIME




           13   ANTI-NATIVE AMERICAN / NATIVE ALASKAN                                      23   ANTI-PROTESTANT                                    #2
           14   ANTI-ASIAN / PACIFIC ISLANDER                                              24   ANTI-ISLAMIC/MUSLIM
           15   ANTI-MULTI RACIAL GROUP                                                    25   ANTI-OTHER RELIGION                                #3
                                                                                           26   ANTI-MULTIRELIGIOUS GROUP
           ETHNIC GROUP / NATIONAL ORIGIN                                                  27   ANTI-ATHEISM/AGNOSTICISM
           31  ANTI-ARAB
           32  ANTI-HISPANIC                                                               SEXUAL
           33  ANTI-OTHER ETHNIC GROUP/NATIONALITY                                         41  ANTI-GAY
                                                                                           42  ANTI-LESBIAN
                                                                                           43  ANTI-HOMOSEXUAL (Men and Women)
                                                                                           44  ANTI-HETEROSEXUAL
                                                                                           45  ANTI-BISEXUAL

           STATUS OF CRIME: (Mark only one per crime)                              CRIMINAL(S) USE: (Mark all those that apply)                   (Only for theft): NUM. OF RAIDED PREMISES ______
           1.  ATTEMPTED     2.   ATTEMPTED                 3.   ATTEMPTED         A   ALCOHOL                  C     COMPUTING EQUIPMENT         METHOD OF ENTRY:
               COMPLETED          COMPLETED                      COMPLETED         D   DRUGS                    N     NOT APPLICABLE              F     BY FORCE                 N   NOT BY FORCE

           PLACE OF CRIME: (Mark only one) (Indicate code num. for crime # 2              and # 3          _______
           01  AIRPORT/BUS/TRAIN TERMINAL                                                  10    FIELD/FOREST                                      18    PARKING LOT/GARAGE
           02  SAVINGS AND LOANS BANK                                                      11    GOVERNMENT/PUBLIC BUILDINGS                       19    WAREHOUSE RENTAL CENTER
           03  CANTEEN/NIGHTCLUB                                                           12    FOOD STORE/SUPERMARKET                            20    RESIDENCE/HOUSEHOLD
           04  CHURCH/SYNAGOGUE/TEMPLE                                                     13    ROAD/STREET/ALLEY                                 21    RESTAURANT
           05  COMMERCIAL/OFFICE BUILDING                                                  14    HOTEL/MOTEL ETC.                                  22    SCHOOL/UNIVERSITY
           06  CONSTRUCTION SITE                                                           15    PRISON                                            23    GAS STATION
           07  HARDWARE STORE                                                              16    LAKE/WATERWAY                                     24    SPECIALIST STORE
           08  DEPARTMENT/DISCOUNT STORE                                                   17    LICOR STORE                                       25    OTHER/UNKNOWN
           09  PHARMACY/CLINIC/HOSPITAL

           TYPE OF CRIMINAL ACTIVITY: (Mark up to three)
           B   PURCHASING/RECEIVING                                D    DISTRIBUTING/SELLING               O    OPERATING/PROMOTING/ASSISTING       T   TRANSPORTING/TRANSMITING/IMPORTING
           C   GROWING/MANUFACTURING/PUBLISHING                    E    CHILD EXPLOITATION                 P    POSSESSING/HIDING                   U   USING/CONSUMING

           TYPE OF WEAPON/FORCE INVOLVED: (Mark up to three) (Enter A in box if automatic)
           11   FIREARM (Unidentified type)     20     KNIFE/CUTTING INSTRUMENT                            50   POISON                             85    ASPHYXIA
           12   PISTOL                          30     BLUNT OBJECT                                        60   EXPLOSIVES                         90    OTHER
           13   RIFLE                           35     MOTOR VEHICLE                                       65   FIRE/INCEDIARY DEVICE              95    UNKNOWN
           14   SHOTGUN                         40     PERSONAL WEAPONS                                    70   NARCOTICS/DRUGS                    99    NONE
           15   OTHER FIREARM

           VICTIM #1 (Surnames, name, second name)                                                                                                                Telephone: (Landline)


           ADDRESS: (Street, city, postal code)


           TYPE OF VICTIM: (Mark one only)           RACE:                           SEX:                          RESIDENCE STATUS:         ETHNIC GROUP:
           I   INDIVIDUAL                            W WHITE                         M    MALE                     R   RESIDENT              H   HISPANIC
           N   BUSINESS                              B   BLACK                       F    FEMALE                   N   NON-RESIDENT          N   NON-HISPANIC
           F  FINANCIAL                              I  NATIVE AMERICAN /            U    UNKNOWN                  U   UNKNOWN               U   UNKNOWN                    AGE: _
           G GOVERNMENT                              NATIVE ALASKAN
  VICTIM




           R   RELIGIOUS                             A ASIAN                                                                                                                DATE OF BIRTH.
           S   SOCIETY/PUBLIC                        H HAWAIIAN
           O OTHER                                   U UNKNOWN                                                                                                              NUM. OF VICTIMS
           D UNKNOWN




           CIRCUMSTANCE OF AGGRVATED ASSAULT / HOMICIDE: (Mark up to two)                             TYPE OF INJURY: (Mark up to five)                      VICTIM RELATED       TO      CRIME   NUM.
           01   DISPUTE                       06  FIGHT BETWEEN LOVERS                                N    NONE                    M    MINOR INJURY         INDICATED ABOVE:
           02   AGGRESSION AGAINST            07  EUTHANASIA                                          B   BONE                     O    MAJOR INJURY         1
                POLICE AGENT                  08  OTHER INVOLVED CRIME                                I   POSSIBLE INTERNAL        D    LOSS OF TEETH        2
           03   SELLING OF DRUGS              09  OTHER CIRCUMSTANCES                                 ____INJURIES                                           3
           04  ORGANIZED CRIME                10  UNKNOWN CIRCUMSTANCES                               S   SEVERE                   C    LOSS OF
           05   YOUTH GANGS                                                                           ____TEARING                  ____CONSCIOUSNESS



           RELATION OF VICTIM: (For multiple relations of criminal, enter number(s) of criminal in the space)

           SE   SPOUSE                                     GP     GRANDPARENT                    SS     STEPSIBLING                 BE    BABYSAT CHILD             EE    EMPLOYEE
           CS   SPOUSE BY                                  GC     GRANDCHILD                     OF     OTHER FAMILY MEMBER         BG    PARTNER                   ER    EMPLOYER
           _____CONSENSUAL AGREEMENT                       H      RELATIVE BY MARRIAGE           AQ     ACQUAINTANCE                CF    CHILD OF “BG”             OK    OTHER ACQUAINTANCE
           PA   PARENT                                     SP     STEPPARENT                     FR     FRIEND                      HH    HOMOSEXUAL PARENT         ST    UNKNOWN
           SB   SIBLING                                    SC     STEPCHILD                      NE     NEIGHBOR                    XS    EX-PARTNER                VO    THE VICTIM WAS
           CH    CHILD                                                                                                                                                    THE CRIMINAL
                                                                                                                                                                    RU    RELATIONSHIP UNKNOWN




                                                                                                                                                                                            Page 1 of 2




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                            TYPE OF LOSS OF        CODE              QUANTITY                 DESCRIPTION OF                  COLOR          DATE ON WHICH IT WAS
                             PROPERTY/ETC.                                                        PROPERTY                                       RECOVERED
                                                                                            (Include make, model,
                                                                                            size, type, series num,
                                                                                                   color, etc.)
                       1   NONE
                       2   BURNT
                       3   FALSIFIED
                       4   DAMAGED
                       5   RECOVERED
                       6   SEIZED
                       7   STOLEN
    PROPERTY




                       8   UNKNOWN
                       TABLE OF CODES OF DESCRIPTION OF PROPERTY: (Enter code number in the corresponding column above)

                       01     AIRCRAFT                              15    HEAVY CONSTRUCTION /               28            RECREATIONAL VEHICLES
                       02     ALCOHOL                                     INDUSTRIAL EQUIPMENT               29            STRUCTURES-SINGLE-HOUSEHOLD
                       03     AUTOMOBILES                           16    HOUSEHOLD GOODS                    30            STRUCTURES-OTHER HOUSING
                       04     BICYCLES                              17   JEWELRY/PRECIOUS METALS             31            STRUCTURES-COMMERCIAL
                       05     BUSES                                 18    LIVESTOCK                          32            STRUCTURES-INDUSTRIAL/MANUFACTURE
                       06     CLOTHING                              19    GOODS                              33            STRUCTURES-PUBLIC/COMMUNITY
                       07     COMPUTING EQUIPMENT/SOFTWARE          20    CASH                               34            STRUCTURES-WAREHOUSE
                       08     CONSUMABLES                           21    NEGOTIABLE INSTRUMENTS             35            STRUCTURES-OTHER
                       09     CREDIT/DEBIT CARDS                    22    NON-NEGOTIABLE INSTRUMENTS         36            ELECTRICAL/MANUAL TOOLS
                       10     DRUGS/NARCOTICS                       23    OFFICE EQUIPMENT                   37            TRUCKS
                       11     DRUGS/NARCOTICS EQUIPMENT             24    OTHER MOTOR VEHICLES               38            VEHICLE PARTS/ACCESSORIES
                       12     AGRICLTURAL EQUIPMENT                 25    PURSES/HANDBAGS/WALLETS            39            VESSELS
                       13     FIREARMS                              26    RADIOS/TELEVISIONS/VIDEO RECORDERS 77            OTHER
                       14     GAMING EQUIPMENT                      27    AUDIOVISUAL RECORDINGS             88            AWAITING FOR INVENTORY
                                                                                                             99            (_____________________)

                       NUMBER OF CRIMINALS: _____
                       1.                                             SOCIAL         ADDRESS (Street, city, state, postal code)
                                                                      SECURITY NO.:
                       AGE:        SEX:            RACE:                             DATE/PLACE     HEIGHT:         WEIGHT:           EYES   HAIR:        CLOTHING:
                                   M MALE          W WHITE             A   ASIAN     OF BIRTH                                         :
                                   F    FEMALE     B BLACK             H HAWAIIAN
                                   U UNKNOWN       I INDIAN AMERICAN U UNKNOWN
       CRIMINALS




                       2.                                             SOCIAL         ADDRESS (Street, city, postal code)
                                                                      SECURITY NO.
                                   SEX:            RACE:                             DATE/PLACE     HEIGHT:         WEIGHT:           EYES   HAIR:        CLOTHING:
                                   M MALE          W WHITE             A ASIAN       OF BIRTH                                         :
                                   F    FEMALE     B BLACK             H HAWAIIAN
                                   U UNKNOWN       I INDIAN AMERICAN U UNKNOWN
                       3.                                             SOCIAL         ADDRESS (Street, city, state, postal code)
                                                                      SECURITY NO.
                                   SEX:            RACE:                             DATE/PLACE     HEIGHT:         WEIGHT:           EYES   HAIR:        CLOTHING:
                                   M MALE          W WHITE              A   ASIAN    OF BIRTH                                         :
                                   F    FEMALE     B   BLACK            H HAWAIIAN
                                   U UNKNOWN       I  INDIAN AMERICAN U UNKNOWN
                                                   INDICATOR OF MULTIPLE ESTABLISHMENT
                       NUMBER OF ARRESTS: ___      M    MULTIPLE    C    DETAINED   N   N/A

                       1.                                                 SOCIAL         ADDRESS (Street, city, state, postal code)
                                                                          SECURITY
                                                                          NO.:
                       AGE:        SEX:            RACE:                                 DATE/PLACE OF BIRTH:         ETHNIC GROUP:         RESIDENCE
                                   M MALE          W WHITE           A ASIAN                                          H   HISPANIC          STATUS:
          DETAINEE




                                   F    FEMALE     B BLACK           H HAWAIIAN                                       N   NON-HISPANIC      R    RESIDENT
                                   U UNKNOWN       I NATIVE AMERICAN U UNKNOWN                                        U   UNKNOWN           N    NON-RESIDENT
                                                                                                                                            U    UNKNOWN
                       THE DETAINEE WAS ARMED WITH: (Mark up to two) (Enter A in box if automatic)    TYPE OF ARREST:             DISPOSITION OF DETAINEE
                       01   NOT ARMED                    14 ESCOP                                      V   IN THE ACT             UNDER 18:
                       11   FIREARM (Type unidentified)  15 OTHER FIREARM                              C   SUMMONED               M PROCESSED WITHIN THE
                       12   PISTOL                       16 LETHAL CUTTING INSTRUMENT                  L   TAKEN INTO CUSTODY         DEPARTMENT
                       13   RIFLE                        17 OTHER SHARP OBJECT                                                    R RECOMMENDED TO
                                                                                                                                      ANOTHER AUTHORITY
                       HEIGHT:             WEIGHT:             EYES:               HAIR:                 ARREST NUM.:        DATE         OF    CRIME CODE OF
                                                                                                                             ARREST:            UCR ARREST:
                       NAME: (Surnames, name, second name)  ADDRESS: (Street, city, state, postal code)            RESIDENTIAL LANDLINE:    WORK TELEPHONE:
          WITNESS




                       1.


                       2.




                       The complainant was advised on how to obtain an order at the Court of San Juan.
          REPORT




                       COMPLAINANT:
          SIGNATURES




                       PREPARED BY: Agent Jorge Toledo Méndez                               BADGE: REDACTED                                  DATE: 06-11-2007


                       SUPERVISOR: [Signature]                                              BADGE: REDACTED                                  DATE: 06-11-2007



                       Continues in Supplement                                                                                                          Page 2 of 2




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                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



                                                             CERTIFICATION

                                                 VACATION AND SICK LEAVE

The balances up to June 30, 2007, are as follows:

Employee name:                   Félix Rivera Clemente

Social Security no.: REDACTED 6753

Office: Road Traffic Regulation

Vacation:    0
During the government shutdown he was given days off, and he owes 2 1/2 vacation days.

Sick Leave: 95 ½


Issued on this date, REDACTED 2007, in San Juan, Puerto Rico.
      [hw:] it was my birthday present

I Certify as Correct:

[Signature]
Ivette M. Cartagena Rivera
Director
Human Resources Office




[Signature]
PRR-adm

  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963


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                                Exhibit D-1 Page 50 of 67



      [Emblem: dtop]
                                COMMONWEALTH OF PUERTO RICO
                            DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS
                                          Director of Public Works
                                       Road Traffic Regulation Office



                                                     VACATION BALANCE
                                                   OF REGULAR EMPLOYEES
                                              SIGNAGE AND PAINTWORKS SECTION

                                                     REGULAR
                                                                                                           COMPENSATORY
                 Name                                VACATION                  SICK LEAVE                                         USED LEAVE
. Andújar Adorno, José V.                                 22 ½                          1                               5 hours      10 ½
. Andújar Reyes, Rafael                                    29                          34                              1 ½ days       11
. Arroyo Rivera, Omar                                     22 ½                          8                               7 days         4
. Canales Nazario, Luis Y.                                42 ½                         21                                1 day        10
. Birriel Calo, Edgardo                                   39 ½                        41 ½                                 -          11
. Buitrón Escalera, Adalberto                              43                          96                                  -           9
. Buitrón Robles, Carlos l.                               25 ½                        77 ½                                 -          14
. Clemente Rivera, Rafael                                 51 ½                         64                               5 hours       15
. Fraguada Abril, Luis M.                                   6                          6½                               4 days       10 ½
. González Montes, Manuel                                  39                          30                               2 days         1
. Moreno Clemente, Armado                                  40                         87 ½                              2 days        11
. Nuñez Ramírez, Manuel                                    6½                           -                                1 day         9
. Ocasio López, Wilfredo                                  26 ½                         95                                  -          17
. Ofarril Rivera, José R.                                  15                          13                               1 day          9
. Ortiz Garcia, Francisco                                  10                           2                              6 hours        12
. Perez Rosado, Héctor                                    12 ½                         2½                                 -           10
. Pizarro Caraballo, Juan                                   2                          1½                                 -            5
. Rivera Clemente, Félix                                  27 ½                         94                               1 day         15
. Rivera Cruz, Juan                                        11                          13                               2 days
                                                                                                                                       4
. Román Vizcarrondo, Carlos R.                             23                           96                                 -         11 ½
. Torres Feliciano, Francisco                             12 ½                         4½                               4 days         6
. Torres Nieves, Luis D.                                    5½                        14 ½                              4 days        6½



                 Prepared by: ANA R. BERRÍOS

                 DATE: APRIL 30, 2007



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      [Emblem: dtop]
                                    COMMONWEALTH OF PUERTO RICO
                            DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS
                                          Director of Public Works
                                       Road Traffic Regulation Office



                                                     VACATION BALANCE
                                                   OF REGULAR EMPLOYEES
                                              SIGNAGE AND PAINTWORKS SECTION

                                                   REGULAR
                                                                                                         COMPENSATORY
               Name                                VACATION                  SICK LEAVE                                         USED LEAVE
. Andújar Adorno, José V.                            22 ½                         1                                5 hours
. Andújar Reyes, Rafael                               30                         33                                1 hour
. Arroyo Rivera, Omar                                 18                          5                                   -
. Canales Nazario, Luis Y.                           42 ½                        19                                       -
. Birriel Calo, Edgardo                              40 ½                       39 ½                                   1 hour      5½
. Bultrón Escalera, Adalberto                        43 ½                        93                                       -          5
. Bultrón Robles, Carlos I.                          28 ½                       74 ½                                      -          6
. Clemente Rivera, Rafael                             50                         62                                3 days          11 ½
. Fraguada Abril, Luis M.                             4½                         6½                                4 days            7
. Gonzalez Montes, Manuel                             34                        29 ½                               2 days            1
. Moreno Clemente, Armado                             41                        84 ½                                  -              5
. Nuñez Ramírez, Manuel                               7½                          1                                2 days            3
. Ocasio López, Wilfredo                             28 ½                        93                                   -             10
. Ofarril Rivera, José R.                             15                         13                                1 hour            5
. Ortiz García, Francisco                              7                        14 ½                               5 days           10
. Perez Rosado, Héctor                               13 ½                        1%                                   -              4
. Pizarro Caraballo, Juan                              1                          1                                1 day             5
. Rivera Clemente, Félix                             28 ½                        91                                   -              9
. Rivera Cruz, Juan                                    6                         12                                3 days            4
. Román Vizcarrondo, Carlos R.                          24 ½                         93                                   -          5
. Torres Feliciano, Francisco                           12 ½                         1½                                1 hour        1
. Torres Nieves, Luis D.                                 3½                           19                               1 day        4%



                 Prepared by: ANA R. BERRÍOS

                 DATE: FEBRUARY 28, 2007



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                                        GOVERNMENT OF PUERTO RICO
                                     PUBLIC SERVICE APPEALS COMMISSION
                                           SAN JUAN, PUERTO RICO
                                               www.casp.pr.gov

              FÉLIX RIVERA CLEMENTE                                                        CASE NO. 2007-05-1167

                             Appellant

                                    v.




TO                    :          Carmen T. Lugo Somolinos
                                 Public Service Appeals Commission


FROM                  :          Félix Rivera Clemente
                                 Signage Supervisor of the Dept. Of Transportation and Public Works

                                 Road Traffic Regulation Division of the
                                 State Government of P.R.

SUBJECT               :          Case No. 2007-05-1167
                                 Involuntary transfer, salary increases, merits for years of service and
                                 changes to the federal minimum wage no longer received.

DATE                  :          February 14, 2012


        I ask this Honorable Commission to order the Department of Transportation and Public
Works, for retaliation taken by this Department, for recommendations for salary increases
based on merits, for years of service, change in my salary and changes to the federal
minimum wage, sentence and order D.T.O.P. to send me back to the Sign Workshop Office,
pay me the increases recommended by the Director in this division, changes to my salary
indicated by the documents that I have already sent them and pay me the amount of money
that I am claiming for the damages committed against the undersigned, and for a ruling on
the case to be entered.



cc:        María E. Vazquez Graziani, Esq.
           Mr. Francisco J. Valls Ferrero




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                                                                   -2-                                           Félix Rivera Clemente
                                                                                                                         2007-05-1167
                                                                                                                               ORDER


        I CERTIFY that on this date, January 23, 2012, I filed the original of this Order and
that I have sent a true and exact copy of it to the Parties, to their addresses on record.


                   [Signature]
           FRANCISCO J VALLS FERRERO
                    Secretary

                                                                                    [Stamp: APPEALS COMMISSION –
                                                                                      PUBLIC SERVICE – FAIRNESS,
                                                                                   JUSTICE, RULING – MMX OFFICIAL
                                                                                                SEAL]




ATTORNEY OF APPELLEE:
MARÍA ELENA VÁZQUEZ GRAZIANI, ESQ.
EDIF. DORAL BANK 805
CALLE RESOLUCIÓN # 33, SUITE 805
SAN JUAN, PR 00920-2717

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772

CTLS/mpa




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                                               GOVERNMENT OF PUERTO RICO
                                            PUBLIC SERVICE APPEALS COMMISSION
                                                  SAN JUAN, PUERTO RICO
                                                      www.casp.pr.gov

                  FÉLIX RIVERA CLEMENTE

                              Appellant                                                        CASE NO. 2007-05-1167

                                    v.

     DEPARTMENT OF TRANSPORTATION AND                                                                  TRANSFERS
              PUBLIC WORKS

                               Appellee
                                                                                                           Subject


                                                                    ORDER

TO THE APPELLEE:

        Associate Commissioner Carmen T. Lugo Somolinos, had before her the above-mentioned appeal and
resolved:

        To the Motion in Compliance with an Order and Request for Review of Penalties. As requested, the
penalties imposed are rendered null and void.

TO THE APPELLANT:

        Within twenty (20) days, you must submit your part of the Conference Report Prior to the Hearing,
since the appellee submitted their part to the Commission.

           You are hereby warned that any unjustified non-compliance with the order, within the granted
           term, shall constitute acceptance of the imposition of a procedural or financial penalty of no
           less than thirty dollars ($30) but not to exceed three hundred dollars ($300) for each separate
           penalty on the party or their attorney, if the latter is responsible for the non-compliance, in
           accordance with the provisions of Article 16 of Reorganization Plan No. 2-2010 and Section
           8.14 of the Commission's Procedural Regulation No. 7313 of March 07, 2007.

           TO BE FILED AND SERVED.

           In San Juan, Puerto Rico, on March 29, 2012.

                                                            [Signature]
                                                  CARMEN T. LUGO SOMOLINOS
                                                   Associate Commissioner

        I CERTIFY that on this date, March 30, 2012, I filed the original of this Order and that I have
sent a true and exact copy of it to the Parties, to their addresses on record.


                    [Signature]
           FRANCISCO J VALLS FERRERO
                                                                                                [Stamp: APPEALS COMMISSION –
                      Secretary                                                                   PUBLIC SERVICE – FAIRNESS,
                                                                                               JUSTICE, RULING – MMX OFFICIAL
                                                                                                            SEAL]



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By Targem Translations Inc.
 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                                       Desc:
                          Exhibit D-1 Page 55 of 67




                                                                   -2-                                           Félix Rivera Clemente
                                                                                                                         2007-05-1167
                                                                                                                               ORDER




ATTORNEY OF APPELLEE:
MARÍA ELANA VÁZQUEZ GRAZIANI, ESQ.
EDIF. DORAL BANK
CALLE RESOLUCIÓN 33, SUITE 805
SAN JUAN, PR 00920-2717

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772-9662

CTLS/mpa




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                          Exhibit D-1 Page 56 of 67



                                             GOVERNMENT OF PUERTO RICO
                                          PUBLIC SERVICE APPEALS COMMISSION
                                                SAN JUAN, PUERTO RICO
                                                    www.casp.pr.gov

                 FÉLIX RIVERA CLEMENTE

                              Appellant                                                       CASE NO. 2007-05-1167

                                    v.

                 DEPARTMENT OF                                                                         TRANSFERS
            TRANSPORTATION AND PUBLIC
                     WORKS
                    Appellee                                                                               Subject


                                                                   ORDER

TO THE APPELLANT:

        Associate Commissioner Carmen T. Lugo Somolinos, had before her the above-mentioned appeal
and resolved:
        As to the letter of February 14, 2012, filed on February 15, 2012, ACKNOWLEDGED.
TO THE APPELLEE:
        A second fine of two hundred ($200.00) dollars is imposed on the appellee for non-compliance
with the Commission's Orders, which must be paid within twenty (20) days.

           You are hereby warned that any unjustified non-compliance with the order, within the
           granted term, shall constitute acceptance of the imposition of a procedural or financial
           penalty of no less than thirty dollars ($30) but not to exceed three hundred dollars ($300)
           for each separate penalty on the party or their attorney, if the latter is responsible for the
           non-compliance, in accordance with the provisions of Article 16 of Reorganization Plan
           No. 2-2010 and Section 8.14 of the Commission's Procedural Regulation No. 7313 of
           March 07, 2007.

           TO BE FILED AND SERVED.

           In San Juan, Puerto Rico, on February 23, 2012.

                                                           [Signature]
                                                  CARMEN T. LUGO SOMOLINOS
                                                     Associate Commissioner

I CERTIFY that on this date, February 24, 2012, I filed the original of this Order and that I have sent a true
and exact copy of it to the Parties, to their addresses on record.


               [Signature]
           FRANCISCO J. VALLS FERRERO
                    Secretary                                                                   [Stamp: APPEALS COMMISSION –
                                                                                                  PUBLIC SERVICE – FAIRNESS,
                                                                                               JUSTICE, RULING – MMX OFFICIAL
                                                                                                            SEAL]


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                          Exhibit D-1 Page 57 of 67



                                                                   -2-                                           Félix Rivera Clemente
                                                                                                                         2007-05-1167
                                                                                                                               ORDER

APPELLEE:
HON. RUBÉN A. HERNÁNDEZ GREGORAT
SECRETARY
DEPARTMENT OF TRANSPORTATION
AND PUBLIC WORKS
PO BOX 41269, MINILLAS STATION
SAN JUAN, PR 00940-1269

ATTORNEY OF APPELLEE:
MARÍA ELANA VÁZQUEZ GRAZIANI, ESQ.
EDIF. DORAL BANK
CALLE RESOLUCIÓN 33, SUITE 805
SAN JUAN, PR 00920-2717

APPELLANT:
FÉLIX RIVERA CLEMENTE
HC-01 BOX 9045
LOÍZA, PR 00772-9662

CTLS/mpa




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                          Exhibit D-1 Page 58 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



May 08, 2007



Mr. Angel R. Boria Figueroa
Sign maker

Manuel Salcedo Ortega, PE
Acting Director
Road Traffic Regulation Office

[Signature]
Arthur Dones Negrón
Manager, Construction Division
Road Traffic Regulation Office

[Signature]
Félix Rivera Clemente
Sign workshop Supervisor

INSUBORDINATION

Excessive cell phone use during work hours.

Occasionally disappearing from the workshop without permission.



[hw:] Threatening added




  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963



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                          Exhibit D-1 Page 59 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS



May 08, 2007



Mr. Angel R. Boria Figueroa
Sign maker

[Signature]
Manuel Salcedo Ortega, PE
Acting Director
Road Traffic Regulation Office

[Signature]
Arthur Dones Negrón
Manager, Construction Division
Road Traffic Regulation Office

[Signature]
Félix Rivera Clemente
Sign Workshop Supervisor

INSUBORDINATION

Excessive cell phone use during work hours.

Occasionally disappearing from the workshop without permission.

Threatening.
                                                                  [Signature]




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                          Exhibit D-1 Page 60 of 67




TO                    :          Edmée Vincenty, Esq.

FROM                  :          Félix Rivera Clemente

SUBJECT               :          Withholding of Paycheck from
                                 Monday, December 15, 2008

DATE                  :          December 23, 2008



           Making a claim to:


                      Ivette M. Cartagena Rivera
                      Director of Human Resources Office
                      Edif. Sur, Minilla,
                      Santurce, PR
                      5to. Piso
                      Apartado 41269
                      San Juan, PR 00940-1269

                      Benjamín Rivera
                      Administrative Manager
                      Road Traffic Regulation Office

                      Ana Berríos
                      She calculates and keeps account of vacation and sick days and deduction for
                      partial departures and lateness.


        It is the second time that, due to the ineptitude of Ms. Ana Berríos in that position, they
have withheld from me the check for the fortnight, twice (2), because the way she calculates
the half hours as .5 and the three quarters of an hour as .75 are wrong, instead of .30 and
.45. I took some seminars on how to calculate the time in the hours of use in the parking lots
to charge the hours in MBTI and the method that she uses is incorrect.




                                                                        -1–



Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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 Case:17-03283-LTS Doc#:19796-8 Filed:01/17/22 Entered:01/17/22 15:06:23                                         Desc:
                          Exhibit D-1 Page 61 of 67



       Ana Berríos miscalculates the time we spend on vacation, part-time leave, lateness
and sickness. She uses .5 instead of .30, and so that's already 20 minutes too much, just like
1.5 hours.

        I work 7.30 hours a day, it is not 7.5 and a half day of work is not 3.65 hours, it is 3.45
hours. As well as 80 minutes, instead of 1 hour and 20 minutes, and so her numbers do not
add up to mine and therefore they have left me without vacation leave. I complained to Mr.
Benjamín Rivera and they sent their numbers to the Human Resources Office and she
certifies that she is correct and I am incorrect. Now on Monday, December 15, they withheld
my paycheck again based on their mistakes.




                                                                        -2–

Certified to be a correct and true translation from the source text in Spanish to the target language English.
15/AUGUST/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
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                          Exhibit D-1 Page 62 of 67




TO                    :          Edmée Vincenty, Esq.

FROM                  :          Félix Rivera Clemente

SUBJECT               :          Withholding of Paycheck from
                                 Monday, December 15, 2008

DATE                  :          December 23, 2008



           Making a claim to:


                      Ivette M. Cartagena Rivera
                      Director of Human Resources Office
                      Edif. Sur, Minilla,
                      Santurce, PR
                      5to. Piso
                      Apartado 41269
                      San Juan, PR 00940-1269

                      Benjamín Rivera
                      Administrative Manager
                      Road Traffic Regulation Office

                      Ana Berríos
                      She calculates and keeps account of vacation and sick days and deduction for
                      partial departures and lateness.


        It is the second time that, due to the ineptitude of Ms. Ana Berríos in that position, they
have withheld from me the check for the fortnight, twice (2), because the way she calculates
the half hours as .5 and the three quarters of an hour as .75 are wrong, instead of .30, .30
and .45. I took some seminars on how to calculate the time in the hours of use in the parking
lots to charge the hours in MBTI and the method that she uses is incorrect.




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                          Exhibit D-1 Page 63 of 67


                                                                        -1-
       Ana Berríos miscalculates the time we spend on vacation, part-time leave, lateness
and sickness. She uses .5 instead of .30, and so that's already 20 minutes too much, just like
1.5 hours.

        I work 7.30 hours a day, it is not 7.5 and a half day of work is not 3.65 hours, it is 3.45
hours. As well as 80 minutes, instead of 1 hour and 20 minutes, and so her numbers do not
add up to mine and therefore they have left me without vacation leave. I complained to Mr.
Benjamín Rivera and they sent their numbers to the Human Resources Office and she
certifies that she is correct and I am incorrect. Now on Monday, December 15, they withheld
my paycheck again based on their mistakes.




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                          Exhibit D-1 Page 64 of 67




                              COMMONWEALTH OF PUERTO RICO
                      DEPARTMENT OF TRANSPORTATION AND PUBLIC WORKS




September 02, 2009                                                                         [Stamp: DTOP – SEP 16, 2009]


Mr. Félix Rivera Clemente
Sign Workshop Supervisor


Arthur Dones Negrón
Director
Road Traffic Regulation Office


[Signature]
Maria M. Trinidad Quiñones
Director, Human Resources Office
Assistant Secretary for Administration

INFORMAL ADMINISTRATIVE HEARING

In a letter dated August 13, 2009, you were notified of the intention to deduct the day of July
03, 2009, from your salary. However, you were not informed that the period to be deducted
would be the one corresponding to 7:45 a.m. -9:18 a.m., for a total of 33 minutes, as an
unauthorized absence.

You requested an Informal Administrative Hearing in which you shall state the reasons why
the deduction should not be made for you. The Informal Administrative Hearing shall be held
on September 15, 2009, at 10:00 a.m., in the Roberto Sánchez Vilella Building in the Human
Resources Office, located on Floor 5.

If there is any inconvenience that prevents you from attending, you can contact Ms. Nora Liz
Pérez Matos, Human Resources Analyst I, at the number: (787) 722-2929, ext. 2175 or via
fax at: (787) 727-1247.

MTQ/npm

                             [hw:] It was changed to Thursday, September 17, 2009.
  APARTADO 41269, SAN JUAN, PUERTO RICO 00940-1269 - TEL. (787) 722-2929 FAX: (787) 728-8963
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                          Exhibit D-1 Page 65 of 67



 Commonwealth of Puerto Rico                                                            Payment Group: SM -Fortnightly             Check #: REDACTED5041
 049 - Dept. of Transport. and Public Works                                             From:             07/01/2012
                                                                                        To:               07/15/2012               Date:      06/19/2012
 FÉLIX RIVERA CLEMENTE                                  Employee #: XXXXX6753                                     IMP DATE:    Federal       PR
 HC 1 BOX 9045                                          Dept:               049120- Road Traffic Div.             Civil Status Married      Married
 LOÍZA PR 00772                                         Office:             Comp.-operated Traff. Lights Sec.     Concessions 0             5
                                                        Title:              Road Traffic Sign workshop            Pct. Adcl.:
 SS No.:   XXX-XX-6753                                  Wage:               $ 1,960.00 Monthly                    Qty. Adcl.:
                                       HOURS AND PAYMENT                                                                            TAXES
                                   ---------------- Current ---------------       ----------- Cumulative --------
 Description                       Wage           Hours         Payments           Hours          Payments        Description         Current Cumulative
 Payment of Regular Wages                                               0.00      975.00          11,760.00       Fed MED/EE             0.00        170.52
                                                                                                                  Fed OASDI/EE           0.00        493.92




                                                                                                           Total:                         0.00     664.44
 Total:                                                          0.00  975.00         11,760.00
                DEDUCTIONS                                      GENERAL DEDUCTIONS                                  EMPLOYER BENEFITS PAID
 Description          Current        Cumulative      Description              Current Cumulative           Description                 Current Cumulative
 GPR Retirement Plan     0.00           973.20       AE-Asoc. Emp ELA-Regular Ben.     0.00     2,341.12   SM-First Medical Health Plan 600.00    998.00
                                                     CO-COOP OBRAS PÚBLICAS           0.00      2,859.19   GPR Retirement Plan             0.00 1,090.80
                                                     DM-FONDOS UNIDOS                 0.00         32.50
                                                                                                           FSED Disability Plan           0.00    764.40
                                                     RC-Pres Pers Ret Cen-E Clasif    0.00      1,594.97
                                                     AE-Seguro por Muerte Asoc ELA    0.00         45.60   SM-NATIONAL LIFE                0.00   280.00
                                                     AS-UITICE                        0.00          6.50
                                                     AS-ASOC EMP GER Y SUP DTOP       0.00         52.00
                                                     Savings-AEELA                    0.00        352.80




 Total:                 0.00      973.20             Total:                          0.00   7,284.68       * Taxable
                    GROSS TOTAL                                                    TOTAL TAXES             TOTAL DEDUCTIONS             NET PAID
 Current:                    0.00                                                            0.00                           0.00             0.00
 Accumulated:           11,760.00                                                         664.44                        8,257.88         3,237.68
 PTO HOURS ACCUM                                                                                                     NET DISTRIBUTION PAID
 Initial Balance 0.00
 + Cumulative
                                                                                                                      Total:                             0.00
 - Used:
 - Donated:
 + Adjustments:

 Final Balance      0.00


MESSAGE:




                                                   See reverse side for complete security features.
 Form SC 784.1              DEPARTMENT OF TREASURY             Commonwealth of Puerto Rico                                     Check No.
 Nov 09, 2005               Edificio Intendente Ramirez        049 - Dept. of Transport. and Public Works                          5041
                                                                                                                               REDACTED


                            San Juan PR 00902-4140
 [Coat    of  Arms:
 TREASURY        –                                                           Date: 06/19/2012                       Amount:    $0.00 **********
 COMMONWEALTH OF
 PUERTO RICO]               **** NO AND 0 DOLLARS ****
 Payable
 To The                     FÉLIX RIVERA CLEMENTE
 Order Of                   HC 1 BOX 9045
                            LOÍZA PR 00772
 [Emblem: BGF]
                            Location: Computer-operated Traffic Lights Section                                       [Signature]
                                                                                                                Secretary of Treasury
                                       Not valid six months after its issuance



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                            [Barcode]




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                          Exhibit D-1 Page 67 of 67




                                  TRANSLATOR’S CERTIFICATE OF TRANSLATION


Translation from: Spanish (Puerto Rico) into English (US)
TARGEM Translations Inc.

I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a NEW YORK City
corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to the best of my
knowledge.


Original Document Name: Claim No. 6725




                                                                                Signed this 15th day of August 2021




                                                                                __________________________
                                                                                    Andreea I. Boscor
